                     Case: 13-10118              Document: 2003              Filed: 03/04/20           Page 1 of 66
                                           UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF SOUTH DAKOTA

            In re: 1257+(51%(()3$&.(56/,0,7('                                                § Case No. 13-10118
                   3$571(56+,3                                                                  §
                   (,1                                                               §
         Debtor(s)                                                                              §

                                 INTERIM TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this interim Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 19, 2013. The undersigned trustee was appointed on April 27, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $            1,106,376.86

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                          418,897.32
                                    Administrative expenses                                         541,351.55
                                    Bank service fees                                                43,188.08
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                           0.00
                                    Other payments to the debtor                                            0.00
                             Leaving a balance on hand of 1                         $               102,939.91
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
                     Case: 13-10118              Document: 2003               Filed: 03/04/20           Page 2 of 66
               6. The deadline for filing non-governmental claims in this case was 09/12/2016
       and the deadline for filing governmental claims was 09/12/2016. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

        7. The Trustee's proposed interim distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $55,036.52. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $53,218.84 as interim compensation and now requests the
       sum of $1,817.68, for a total compensation of $55,036.52. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $1,242.41
       and now requests reimbursement for expenses of $308.10, for total expenses of
                 2
       $1,550.51.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 03/03/2020                    By: /s/Forrest Allred
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
                                 Case: 13-10118             Document: 2003                     Filed: 03/04/20             Page 3 of 66

                                                                                                                                                             Exhibit A


                                                                        Form 1                                                                               Page: 1

                                      Individual Estate Property Record and Report
                                                       Asset Cases
Case Number: 13-10118                                                           Trustee:        (610080)     Forrest Allred, Chapter 7 Trustee
Case Name:        NORTHERN BEEF PACKERS LIMITED                                 Filed (f) or Converted (c): 04/27/15 (c)
                  PARTNERSHIP                                                   §341(a) Meeting Date:        06/02/15
Period Ending: 03/03/20                                                         Claims Bar Date:             09/12/16

                            1                                   2                          3                      4                  5                   6

                    Asset Description                        Petition/            Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)          Unscheduled       (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                              Values            Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                              and Other Costs)                                             Remaining Assets

 1       REAL PROPERTY - 13 135th Street, Aberdeen, SD     59,900,000.00                           0.00                                   0.00                   FA

 2       BANK ACCOUNTS - checking                               5,500.00                           0.00                                   0.00                   FA

 3       BANK ACCOUNTS - Cattle payables                              0.00                         0.00                                   0.00                   FA

 4       BANK ACCOUNTS - Toll Kill payables                           0.00                         0.00                                   0.00                   FA

 5       BANK ACCOUNTS - CD                                   936,750.00                          0.00                                    0.00                   FA

 6       STOCK AND BUSINESS INTERESTS                                 0.00                         0.00                                   0.00                   FA

 7       ACCOUNTS RECEIVABLE                                    1,000.00                           0.00                                   0.00                   FA

 8       NOTES RECEIVABLE                                   1,890,175.00                           0.00                                   0.00                   FA

 9       CLAIMS                                                 Unknown                            0.00                                   0.00                   FA

10       PATENT OR COPYRIGHT                                    Unknown                            0.00                                   0.00                   FA

11       LICENSES OR FRANCHISES                                       0.00                         0.00                                   0.00                   FA

12       AUTOMOBILES - 1994 Chevy Sport Van                     2,000.00                           0.00                                   0.00                   FA

13       AUTOMOBILES - 2001 Chrysler Town & Country             3,500.00                           0.00                                   0.00                   FA

14       AUTOMOBILES - 2004 Ford Econoline                      9,000.00                           0.00                                   0.00                   FA

15       AUTOMOBILES - 1989 Chevy K3500                             800.00                         0.00                                   0.00                   FA

16       AUTOMOBILES - 1997 Ford F150                           2,500.00                           0.00                                   0.00                   FA

17       MACHINERY, FIXTURES, AND BUSINESS                            0.00                         0.00                                   0.00                   FA
         EQUIPMENT

18       MACHINERY, FIXTURES, AND BUSINESS                 16,500,000.00                          0.00                              20,000.00                    FA
         EQUIPMENT

19       WARN ACT SETTLEMENT (u)                              950,473.05                   950,473.05                              954,703.54                    FA

20       PREFERENCE - Adv 16-1002 Allred v Elanco (u)          27,075.00                    27,075.00                                 5,425.00                   FA

21       PREFERENCE - Adv 16-1003 Allred v Hase (u)            10,478.41                    10,478.41                                 7,334.80                   FA

22       PREFERENCE - Adv 16-1004 Allred v NAV Analytic        10,000.00                    10,000.00                                     0.00                   FA
         (u)

23       PREFERENCE - Adv 16-1005 Allred v Norse Electri       10,000.00                       7,000.00                               7,000.00                   FA
         (u)

24       PREFERENCE - Adv 16-1006 Allred v PB Metal (u)         7,161.39                       7,161.39                               3,580.69                   FA



                                                                                                                              Printed: 03/03/2020 01:51 PM    V.14.66
                                     Case: 13-10118                   Document: 2003                     Filed: 03/04/20             Page 4 of 66

                                                                                                                                                                           Exhibit A


                                                                                  Form 1                                                                                   Page: 2

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 13-10118                                                                     Trustee:        (610080)      Forrest Allred, Chapter 7 Trustee
Case Name:        NORTHERN BEEF PACKERS LIMITED                                           Filed (f) or Converted (c): 04/27/15 (c)
                  PARTNERSHIP                                                             §341(a) Meeting Date:         06/02/15
Period Ending: 03/03/20                                                                   Claims Bar Date:              09/12/16

                                1                                          2                         3                        4                   5                    6

                     Asset Description                                Petition/             Estimated Net Value          Property            Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,    Abandoned            Received by       Administered (FA)/
                                                                       Values             Less Liens, Exemptions,       OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

25        PREFERENCE - Adv 16-1007 Allred v RMS (u)                         5,000.00                     5,000.00                                      0.00                    FA

26        PREFERENCE - Adv 16-1008 Allred v United Rental                   5,000.00                     5,000.00                                      0.00                    FA
          (u)

27        PREFERENCE - Adv 16-1010 Allred vs RockTenn                      98,197.72                  98,197.72                                   14,000.00                    FA
          (u)

28        PREFERENCE - Adv 14-1009 Northern Beef v Avera                  349,577.74                 349,577.74                                   45,000.00                    FA
          (u)

29        PREFERENCE - Adv 14-1010 Northern Beef v NWE                    277,402.98                 277,402.98                                   40,000.00                    FA
          (u)

30        REFUND - Eide Bailly LLP (u)                                     Unknown                       9,332.83                                  9,332.83                    FA

31        VOID - Asset entered in error (u)                                     0.00                         0.00                                      0.00                    FA

 31      Assets      Totals (Excluding unknown values)              $81,001,591.29                $1,756,699.12                               $1,106,376.86                 $0.00



      Major Activities Affecting Case Closing:


      Initial Projected Date Of Final Report (TFR):      April 27, 2016                     Current Projected Date Of Final Report (TFR):      June 30, 2020




                                                                                                                                            Printed: 03/03/2020 01:51 PM    V.14.66
                                        Case: 13-10118               Document: 2003                    Filed: 03/04/20                   Page 5 of 66

                                                                                                                                                                                  Exhibit B


                                                                                    Form 2                                                                                        Page: 1

                                                         Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                        Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                   Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                     Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                      Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                              Separate Bond: N/A

   1             2                           3                                       4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From                Description of Transaction                 T-Code              $                  $                Account Balance
07/14/15      {19|         Robbins, Salomon & Patt, LTD       WARN ACT settlement funds                         1249-000           950,473.05                                950,473.05
07/28/15       101         Klehr Harrison Harvey Branzburg    disbursement of WARN ACT settlement funds         6990-000                                 180,000.00          770,473.05
                           LLP
07/31/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                       774.70        769,698.35
08/31/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,070.19          768,628.16
09/30/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,179.36          767,448.80
10/30/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,103.86          766,344.94
11/30/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,065.53          765,279.41
12/31/15                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,210.91          764,068.50
01/29/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,059.56          763,008.94
03/01/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,057.99          761,950.95
03/31/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,202.40          760,748.55
04/01/16                   Robbins, Salomon & Patt, LTD       settlement / preference payments                                     105,000.00                                865,748.55
              {18|                                              RockTenn settlement on           20,000.00      1129-000                                                     865,748.55
                                                                Motion for Relief
              {28|                                              preference payment -             45,000.00      1241-000                                                     865,748.55
                                                                Adv. 14-1009 - Avera
              {29|                                              preference payment -             40,000.00      1241-000                                                     865,748.55
                                                                Adv. 14-1010 - NWE
04/28/16      {24|         PB Metal LLC                       preference payment - Adv. 16-1006 - PB Metal      1241-000              3,580.69                               869,329.24
04/29/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,195.43          868,133.81
05/06/16      {20|         Eli Lilly and Company              preference payment - Adv. 16-1002 - Elanco        1241-000              5,425.00                               873,558.81
05/18/16       102         International Sureties, LTD        bond premium 2016                                 2300-000                                        89.61        873,469.20
05/31/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,208.67          872,260.53
06/20/16      {27|         Robbins, Salomon & Patt, LTD       preference payment - Adv. 16-1010 -               1241-000             14,000.00                               886,260.53
                                                              RockTenn
06/30/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,382.50          884,878.03
07/29/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,226.98          883,651.05
08/31/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,394.28          882,256.77
09/30/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,265.53          880,991.24
10/31/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,221.59          879,769.65
11/30/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,346.20          878,423.45
12/30/16                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,260.03          877,163.42
01/31/17                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,345.55          875,817.87
02/28/17                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,175.75          874,642.12
03/31/17                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,299.97          873,342.15
04/28/17                   Rabobank, N.A.                     Bank and Technology Services Fee                  2600-000                                   1,172.43          872,169.72

                                                                                                      Subtotals :               $1,078,478.74         $206,309.02
{| Asset reference(s)                                                                                                                         Printed: 03/03/2020 01:51 PM         V.14.66
                                        Case: 13-10118                 Document: 2003                      Filed: 03/04/20                   Page 6 of 66

                                                                                                                                                                                      Exhibit B


                                                                                      Form 2                                                                                          Page: 2

                                                         Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                            Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                       Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                         Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                          Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                                  Separate Bond: N/A

   1             2                           3                                            4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                   T-Code              $                   $               Account Balance
05/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,379.93         870,789.79
06/02/17       103         International Sureties, LTD         bond premium 2017                                    2300-000                                       275.08        870,514.71
06/30/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,252.28         869,262.43
07/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,208.63         868,053.80
08/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,373.54         866,680.26
09/29/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,205.03         865,475.23
10/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,327.84         864,147.39
11/30/17                   Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                    1,242.95         862,904.44
12/01/17       104         Patrick T. Dougherty                Dividend paid 100.00% on $10,865.00,                 3210-000                                   10,865.00         852,039.44
                                                               Attorney for Trustee Fees (Other Firm);
                                                               Reference:
12/01/17       105         Patrick T. Dougherty                Dividend paid 100.00% on $19,583.50,                 3210-000                                   19,583.50         832,455.94
                                                               Attorney for Trustee Fees (Other Firm);
                                                               Reference:
12/01/17       106         Patrick T. Dougherty                Dividend paid 100.00% on $302.08, Attorney           3220-000                                       302.08        832,153.86
                                                               for Trustee Expenses (Other Firm); Reference:
12/01/17       107         Patrick T. Dougherty                Dividend paid 100.00% on $322.56, Attorney           3220-000                                       322.56        831,831.30
                                                               for Trustee Expenses (Other Firm); Reference:
12/01/17       108         Robbins, Salomon & Patt, Ltd.       Dividend paid 100.00% on $29,554.13,                 3210-000                                   29,554.13         802,277.17
                                                               Attorney for Trustee Fees (Other Firm);
                                                               Reference:
12/01/17       109         Robbins, Salomon & Patt, Ltd.       Dividend paid 100.00% on $13,379.06,                 3210-000                                   13,379.06         788,898.11
                                                               Attorney for Trustee Fees (Other Firm);
                                                               Reference:
12/01/17       110         Forrest Allred, Chapter 7 Trustee   Dividend paid 100.00% on $30,370.35,                 2100-000                                   30,370.35         758,527.76
                                                               Trustee Compensation; Reference:
12/01/17       111         Forrest Allred, Chapter 7 Trustee   Dividend paid 100.00% on $620.38, Trustee            2200-000                                       620.38        757,907.38
                                                               Expenses; Reference:
12/01/17       112         Clerk US Bankruptcy Court           Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        757,557.38
                                                               the Court Costs (includes adversary and other
                                                               filing fees); Reference:
12/01/17       113         Clerk US Bankruptcy Court           Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        757,207.38
                                                               the Court Costs (includes adversary and other
                                                               filing fees); Reference:
12/01/17       114         Clerk US Bankruptcy Court           Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        756,857.38
                                                               the Court Costs (includes adversary and other
                                                               filing fees); Reference:
12/01/17       115         Clerk US Bankruptcy Court           Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        756,507.38
                                                               the Court Costs (includes adversary and other
                                                                                                         Subtotals :                          $0.00       $115,662.34
{| Asset reference(s)                                                                                                                             Printed: 03/03/2020 01:51 PM         V.14.66
                                         Case: 13-10118            Document: 2003                      Filed: 03/04/20                   Page 7 of 66

                                                                                                                                                                                  Exhibit B


                                                                                  Form 2                                                                                          Page: 3

                                                    Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                        Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                   Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                     Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                      Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                              Separate Bond: N/A

   1             2                          3                                         4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From              Description of Transaction                   T-Code              $                   $               Account Balance
                                                           filing fees); Reference:
12/01/17       116         Clerk US Bankruptcy Court       Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        756,157.38
                                                           the Court Costs (includes adversary and other
                                                           filing fees); Reference:
12/01/17       117         Clerk US Bankruptcy Court       Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        755,807.38
                                                           the Court Costs (includes adversary and other
                                                           filing fees); Reference:
12/01/17       118         Clerk US Bankruptcy Court       Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        755,457.38
                                                           the Court Costs (includes adversary and other
                                                           filing fees); Reference:
12/01/17       119         Clerk US Bankruptcy Court       Dividend paid 100.00% on $350.00, Clerk of           2700-000                                       350.00        755,107.38
                                                           the Court Costs (includes adversary and other
                                                           filing fees); Reference:
12/01/17       120         United States Trustee           Dividend paid 100.00% on $325.00, U.S.               2950-000                                       325.00        754,782.38
                                                           Trustee Quarterly Fees; Reference:
                                                           Stopped on 10/11/18
12/01/17       121         Bantz, Gosch & Cremer, L.L.C.   Dividend paid 100.00% on $6,284.48, Attorney         6210-000                                    6,284.48         748,497.90
                                                           for D-I-P Fees (Chapter 11); Reference:
12/01/17       122         Bantz, Gosch & Cremer, L.L.C.   Dividend paid 100.00% on $850.27, Attorney           6220-000                                       850.27        747,647.63
                                                           for D-I-P Expenses (Chapter 11); Reference:
12/01/17       123         Cozen O'Connor                  Dividend paid 100.00% on $149,139.36,                6210-000                                 149,139.36          598,508.27
                                                           Attorney for D-I-P Fees (Chapter 11);
                                                           Reference:
12/01/17       124         Cozen O'Connor                  Dividend paid 100.00% on $7,077.72, Attorney         6220-000                                    7,077.72         591,430.55
                                                           for D-I-P Expenses (Chapter 11); Reference:
12/01/17       125         Patrick T. Dougherty            Dividend paid 100.00% on $11,768.40,                 6700-000                                   11,768.40         579,662.15
                                                           Attorney for Creditor's Committee Fees
                                                           (Chapter 11); Reference:
12/01/17       126         Robbins, Salomon & Patt, Ltd.   Dividend paid 100.00% on $42,422.67,                 6700-000                                   42,422.67         537,239.48
                                                           Attorney for Creditor's Committee Fees
                                                           (Chapter 11); Reference:
12/01/17       127         Karl Wagner                     Dividend paid 100.00% on $3,438.75,                  6700-000                                    3,438.75         533,800.73
                                                           Financial Consultant Fees (Chapter 11);
                                                           Reference:
12/01/17       128         Karl Wagner                     Dividend paid 100.00% on $299.73, Financial          6710-000                                       299.73        533,501.00
                                                           Consultant Expenses (Chapter 11);
                                                           Reference:
12/29/17                   Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                       851.79        532,649.21
01/31/18                   Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                       843.26        531,805.95

                                                                                                     Subtotals :                          $0.00       $224,701.43
{| Asset reference(s)                                                                                                                         Printed: 03/03/2020 01:51 PM         V.14.66
                                        Case: 13-10118                  Document: 2003                    Filed: 03/04/20                 Page 8 of 66

                                                                                                                                                                                    Exhibit B


                                                                                      Form 2                                                                                        Page: 4

                                                         Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                         Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                    Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                      Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                       Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                               Separate Bond: N/A

   1             2                            3                                       4                                               5                     6                   7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements              Checking
  Date      Check #           Paid To / Received From                   Description of Transaction               T-Code              $                  $                 Account Balance
02/28/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       714.36         531,091.59
03/30/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       764.36         530,327.23
04/30/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       737.82         529,589.41
05/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       838.49         528,750.92
06/01/18       129         International Sureties, LTD         bond premium 2018                                 2300-000                                       170.27         528,580.65
06/29/18      {19|         American Legal Claims Services      WARN ACT settlement funds                         1249-000              4,230.49                                532,811.14
06/29/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       735.44         532,075.70
07/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       816.22         531,259.48
08/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       790.09         530,469.39
09/28/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       407.18         530,062.21
10/11/18       120         United States Trustee               Dividend paid 100.00% on $325.00, U.S.            2950-000                                       -325.00        530,387.21
                                                               Trustee Quarterly Fees; Reference:
                                                               Stopped: check issued on 12/01/17
10/11/18       130         United States Trustee               Dividend paid 100.00% on $325.00, U.S.            2950-000                                       325.00         530,062.21
                                                               Trustee Quarterly Fees; Reference:
10/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                       479.46         529,582.75
01/16/19       131         Eide Bailly, LLP                    Accountant Fees (doc. 1872)                       3410-000                                    5,363.34          524,219.41
01/25/19      {21|         Hase Plumbing                       preference payment - Adv. 16-1003 - Hase          1241-000              7,334.80                                531,554.21
                                                               Plumbing, Inc.
02/04/19      {30|         Eide Bailly LLP                     refund                                            1229-000              9,332.83                                540,887.04
03/12/19       132         Forrest Allred, Chapter 7 Trustee   Dividend paid 100.00% on $53,218.84,              2100-000                                   22,848.49          518,038.55
                                                               Trustee Compensation; Reference:
03/12/19       133         Forrest Allred, Chapter 7 Trustee   Dividend paid 100.00% on $1,242.41, Trustee       2200-000                                       622.03         517,416.52
                                                               Expenses; Reference:
03/12/19       134         United States Treasury              Dividend paid 100.00% on $138.88; Filed:          6950-000                                       138.88         517,277.64
                                                               $0.00 for FICA
                                                               Voided on 03/27/19
03/12/19       135         United States Treasury              Dividend paid 100.00% on $336.00; Filed:          6950-000                                       336.00         516,941.64
                                                               $0.00 for Income Tax
                                                               Voided on 03/27/19
03/12/19       136         United States Treasury              Dividend paid 100.00% on $32.48; Filed: $0.00 6950-000                                            32.48         516,909.16
                                                               for Medicare
                                                               Voided on 03/27/19
03/12/19       137         United States Treasury              Dividend paid 100.00% on $138.88; Filed:          6950-000                                       138.88         516,770.28
                                                               $0.00 for FICA
                                                               Voided on 03/27/19
03/12/19       138         United States Treasury              Dividend paid 100.00% on $134.40; Filed:          6950-000                                       134.40         516,635.88
                                                               $0.00 for FUTA

                                                                                                        Subtotals :                 $20,898.12            $36,068.19
{| Asset reference(s)                                                                                                                          Printed: 03/03/2020 01:51 PM          V.14.66
                                          Case: 13-10118        Document: 2003                       Filed: 03/04/20                   Page 9 of 66

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                                                    Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                      Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                 Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                   Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                    Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                            Separate Bond: N/A

   1             2                            3                                 4                                                  5                     6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction                   T-Code              $                   $               Account Balance
                                                         Voided on 03/27/19
03/12/19       139         United States Treasury        Dividend paid 100.00% on $32.48; Filed: $0.00 6950-000                                               32.48        516,603.40
                                                         for Medicare
                                                         Voided on 03/27/19
03/12/19       140         Hilda Chairez                 Dividend paid 100.00% on $1,732.64,                  6950-000                                    1,732.64         514,870.76
                                                         Administrative Post-Petition Wages (includes
                                                         tax and other withholdings); Reference:
                                                         Stopped on 08/22/19
03/12/19       141         United States Treasury        Dividend paid 100.00% on $14,126.67; Filed:          5300-000                                   14,126.67         500,744.09
                                                         $0.00 for FICA
                                                         Voided on 03/27/19
03/12/19       142         United States Treasury        Dividend paid 100.00% on $34,177.43; Filed:          5300-000                                   34,177.43         466,566.66
                                                         $0.00 for Income Tax
                                                         Voided on 03/27/19
03/12/19       143         United States Treasury        Dividend paid 100.00% on $3,303.85; Filed:           5300-000                                    3,303.85         463,262.81
                                                         $0.00 for Medicare
                                                         Voided on 03/27/19
03/12/19       144         Amy Moore Rissmann            Dividend paid 100.00% on $2,409.75; Claim#           5300-000                                    2,409.75         460,853.06
                                                         24; Filed: $3,115.38; Reference:
03/12/19       145         Chelsie Anderson              Dividend paid 100.00% on $2,528.76; Claim#           5300-000                                    2,528.76         458,324.30
                                                         31; Filed: $3,269.23; Reference:
                                                         Voided on 06/21/19
03/12/19       146         Gary Lorensen                 Dividend paid 100.00% on $9,088.62; Claim#           5300-000                                    9,088.62         449,235.68
                                                         34P-2; Filed: $11,750.00; Reference:
03/12/19       147         Maite Vila                    Dividend paid 100.00% on $967.19; Claim#             5300-000                                       967.19        448,268.49
                                                         36; Filed: $1,250.40; Reference:
03/12/19       148         Sancti Reyes                  Dividend paid 100.00% on $1,570.27; Claim#           5300-000                                    1,570.27         446,698.22
                                                         37; Filed: $2,030.08; Reference:
03/12/19       149         Jeremy E. Randolph            Dividend paid 100.00% on $5,133.13; Claim#           5300-000                                    5,133.13         441,565.09
                                                         38; Filed: $6,636.25; Reference:
03/12/19       150         Maria D. Carrera              Dividend paid 100.00% on $1,418.09; Claim#           5300-000                                    1,418.09         440,147.00
                                                         39; Filed: $1,833.34; Reference:
03/12/19       151         Soila Martinez                Dividend paid 100.00% on $2,922.04; Claim#           5300-000                                    2,922.04         437,224.96
                                                         40; Filed: $3,777.69; Reference:
03/12/19       152         Ramiro Martinez-Hernandez     Dividend paid 100.00% on $1,432.40; Claim#           5300-000                                    1,432.40         435,792.56
                                                         41; Filed: $1,851.84; Reference:
03/12/19       153         Robb Krokel                   Dividend paid 100.00% on $2,569.57; Claim#           5300-000                                    2,569.57         433,222.99
                                                         44; Filed: $3,322.00; Reference:
03/12/19       154         Rene Ferrer Almarez           Dividend paid 100.00% on $4,713.31; Claim#           5300-000                                    4,713.31         428,509.68

                                                                                                   Subtotals :                          $0.00          $88,126.20
{| Asset reference(s)                                                                                                                       Printed: 03/03/2020 01:51 PM         V.14.66
                                        Case: 13-10118        Document: 2003                  Filed: 03/04/20                    Page 10 of 66

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                                                  Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                           Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                             Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                              Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                      Separate Bond: N/A

   1             2                            3                                4                                             5                     6                  7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From           Description of Transaction              T-Code              $                   $               Account Balance
                                                        47; Filed: $6,093.50; Reference:
                                                        Stopped on 08/22/19
03/12/19       155         Wishlee Ringang              Dividend paid 100.00% on $1,327.33; Claim#      5300-000                                   1,327.33          427,182.35
                                                        48; Filed: $1,716.00; Reference:
                                                        Voided on 08/22/19
03/12/19       156         Rayanda Miyuki               Dividend paid 100.00% on $1,126.22; Claim#      5300-000                                   1,126.22          426,056.13
                                                        50; Filed: $1,456.00; Reference:
                                                        Voided on 08/22/19
03/12/19       157         Gary Renguul                 Dividend paid 100.00% on $1,246.89; Claim#      5300-000                                   1,246.89          424,809.24
                                                        51; Filed: $1,612.00; Reference:
                                                        Voided on 08/22/19
03/12/19       158         Billy Ngirchoit              Dividend paid 100.00% on $1,327.33; Claim#      5300-000                                   1,327.33          423,481.91
                                                        52; Filed: $1,716.00; Reference:
                                                        Voided on 08/22/19
03/12/19       159         Free Ngirchomlei             Dividend paid 100.00% on $1,166.43; Claim#      5300-000                                   1,166.43          422,315.48
                                                        53; Filed: $1,508.00; Reference:
                                                        Voided on 08/22/19
03/12/19       160         Teddy Nobuo                  Dividend paid 100.00% on $1,117.31; Claim#      5300-000                                   1,117.31          421,198.17
                                                        54; Filed: $1,444.50; Reference:
                                                        Voided on 08/22/19
03/12/19       161         Robert Geist                 Dividend paid 100.00% on $839.63; Claim#        5300-000                                       839.63        420,358.54
                                                        55; Filed: $1,085.50; Reference:
03/12/19       162         Adolfo Garcia                Dividend paid 100.00% on $1,847.63; Claim#      5300-000                                   1,847.63          418,510.91
                                                        57; Filed: $2,388.67; Reference:
                                                        Stopped on 03/26/19
03/12/19       163         Steven R. Ballinger          Dividend paid 100.00% on $6,896.65; Claim#      5300-000                                   6,896.65          411,614.26
                                                        58; Filed: $8,916.15; Reference:
03/12/19       164         Kevin Herren                 Dividend paid 100.00% on $1,670.76; Claim#      5300-000                                   1,670.76          409,943.50
                                                        61; Filed: $2,160.00; Reference:
03/12/19       165         Richard D. Jensen            Dividend paid 100.00% on $1,042.75; Claim#      5300-000                                   1,042.75          408,900.75
                                                        62P; Filed: $1,348.10; Reference:
                                                        Stopped on 03/20/19
03/12/19       166         Jay Thomas Rossman           Dividend paid 100.00% on $2,936.64; Claim#      5300-000                                   2,936.64          405,964.11
                                                        66; Filed: $3,796.56; Reference:
03/12/19       167         Corey Schuh                  Dividend paid 100.00% on $3,004.27; Claim#      5300-000                                   3,004.27          402,959.84
                                                        68; Filed: $3,884.00; Reference:
03/12/19       168         Clyde Eisenbeisz             Dividend paid 100.00% on $4,563.65; Claim#      5300-000                                   4,563.65          398,396.19
                                                        70; Filed: $5,900.00; Reference:
03/12/19       169         Dayma Martin Sobera          Dividend paid 100.00% on $1,246.89; Claim#      5300-000                                   1,246.89          397,149.30

                                                                                              Subtotals :                         $0.00          $31,360.38
{| Asset reference(s)                                                                                                                 Printed: 03/03/2020 01:51 PM         V.14.66
                                          Case: 13-10118          Document: 2003                  Filed: 03/04/20                    Page 11 of 66

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                                                       Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                    Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                               Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                 Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                  Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                          Separate Bond: N/A

   1             2                             3                                   4                                             5                     6                  7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction              T-Code              $                   $               Account Balance
                                                            73; Filed: $1,612.00; Reference:
03/12/19       170         Michel Perdomo Carballo          Dividend paid 100.00% on $1,166.43; Claim#      5300-000                                   1,166.43          395,982.87
                                                            74; Filed: $1,508.00; Reference:
03/12/19       171         Amandon Wilhelm                  Dividend paid 100.00% on $7,967.05; Claim#      5300-000                                   7,967.05          388,015.82
                                                            76; Filed: $10,300.00; Reference:
03/12/19       172         Christian Arnao                  Dividend paid 100.00% on $1,123.50; Claim#      5300-000                                   1,123.50          386,892.32
                                                            77; Filed: $1,452.50; Reference:
                                                            Voided on 08/22/19
03/12/19       173         Matthew Nygaard                  Dividend paid 100.00% on $760.47; Claim#        5300-000                                       760.47        386,131.85
                                                            80; Filed: $983.16; Reference:
03/12/19       174         Allan M. Brandner                Dividend paid 100.00% on $3,649.71; Claim#      5300-000                                   3,649.71          382,482.14
                                                            81; Filed: $4,718.44; Reference:
03/12/19       175         Clark White                      Dividend paid 100.00% on $3,334.56; Claim#      5300-000                                   3,334.56          379,147.58
                                                            83; Filed: $4,311.00; Reference:
03/12/19       176         Alan D. Bell                     Dividend paid 100.00% on $3,558.10; Claim#      5300-000                                   3,558.10          375,589.48
                                                            86; Filed: $4,600.00; Reference:
03/12/19       177         Hieu Pham                        Dividend paid 100.00% on $2,863.42; Claim#      5300-000                                   2,863.42          372,726.06
                                                            92; Filed: $3,701.91; Reference:
                                                            Voided on 08/22/19
03/12/19       178         Allen Kolb                       Dividend paid 100.00% on $3,963.29; Claim#      5300-000                                   3,963.29          368,762.77
                                                            93; Filed: $5,123.85; Reference:
03/12/19       179         Chad M. Wagenaar                 Dividend paid 100.00% on $1,734.62; Claim#      5300-000                                   1,734.62          367,028.15
                                                            94; Filed: $2,242.56; Reference:
                                                            Voided on 06/20/19
03/12/19       180         Suzanne Morrow                   Dividend paid 100.00% on $3,867.50; Claim#      5300-000                                   3,867.50          363,160.65
                                                            99; Filed: $5,000.00; Reference:
03/12/19       181         Alberto Figueras Cabrisas        Dividend paid 100.00% on $1,085.99; Claim#      5300-000                                   1,085.99          362,074.66
                                                            101; Filed: $1,404.00; Reference:
03/12/19       182         Yamile Chavez Garcia             Dividend paid 100.00% on $1,005.55; Claim#      5300-000                                   1,005.55          361,069.11
                                                            102; Filed: $1,300.00; Reference:
                                                            Stopped on 03/19/19
03/12/19       183         Richard Garrett Hulshof          Dividend paid 100.00% on $2,128.68; Claim#      5300-000                                   2,128.68          358,940.43
                                                            106; Filed: $2,752.00; Reference:
03/12/19       184         Suzette Wirth                    Dividend paid 100.00% on $1,160.25; Claim#      5300-000                                   1,160.25          357,780.18
                                                            108; Filed: $1,500.00; Reference:
03/12/19       185         Shannon Anderson                 Dividend paid 100.00% on $1,208.01; Claim#      5300-000                                   1,208.01          356,572.17
                                                            112; Filed: $1,561.75; Reference:
03/12/19       186         Malinda Johnson                  Dividend paid 100.00% on $1,305.01; Claim#      5300-000                                   1,305.01          355,267.16
                                                            113; Filed: $1,687.14; Reference:

                                                                                                  Subtotals :                         $0.00          $41,882.14
{| Asset reference(s)                                                                                                                     Printed: 03/03/2020 01:51 PM         V.14.66
                                        Case: 13-10118            Document: 2003                   Filed: 03/04/20                    Page 12 of 66

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                                                    Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                     Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                  Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                   Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                           Separate Bond: N/A

   1             2                            3                                    4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction               T-Code              $                   $               Account Balance
03/12/19       187         Shaine C. Anderson               Dividend paid 100.00% on $2,878.78; Claim#       5300-000                                   2,878.78          352,388.38
                                                            119; Filed: $3,721.76; Reference:
03/12/19       188         William Moon                     Dividend paid 100.00% on $4,765.83; Claim#       5300-000                                   4,765.83          347,622.55
                                                            128; Filed: $6,161.39; Reference:
03/12/19       189         Brian Hoff                       Dividend paid 100.00% on $2,945.85; Claim#       5300-000                                   2,945.85          344,676.70
                                                            129; Filed: $3,808.47; Reference:
03/12/19       190         Joe Moslander                    Dividend paid 100.00% on $4,238.87; Claim#       5300-000                                   4,238.87          340,437.83
                                                            130; Filed: $5,480.12; Reference:
03/12/19       191         Fabian Angeles                   Dividend paid 100.00% on $3,716.36; Claim#       5300-000                                   3,716.36          336,721.47
                                                            134; Filed: $4,804.61; Reference:
03/12/19       192         Guadalupe Ibarra                 Dividend paid 100.00% on $2,165.80; Claim#       5300-000                                   2,165.80          334,555.67
                                                            139; Filed: $2,800.00; Reference:
                                                            Voided on 08/22/19
03/12/19       193         Obono Alual                      Dividend paid 100.00% on $1,349.55; Claim#       5300-000                                   1,349.55          333,206.12
                                                            140; Filed: $1,744.73; Reference:
03/12/19       194         Lisa Dauwen                      Dividend paid 100.00% on $1,930.66; Claim#       5300-000                                   1,930.66          331,275.46
                                                            141; Filed: $2,496.00; Reference:
03/12/19       195         Tanya Lynette Glodrey            Dividend paid 100.00% on $3,213.43; Claim#       5300-000                                   3,213.43          328,062.03
                                                            150; Filed: $4,154.40; Reference:
03/12/19       196         Anthony C. Frenier Sr.           Dividend paid 100.00% on $1,392.30; Claim#       5300-000                                   1,392.30          326,669.73
                                                            159; Filed: $1,800.00; Reference:
03/12/19       197         Darrell Berreth                  Dividend paid 100.00% on $3,152.10; Claim#       5300-000                                   3,152.10          323,517.63
                                                            160; Filed: $4,075.12; Reference:
03/12/19       198         Jonghwan Kim                     Dividend paid 100.00% on $4,730.25; Claim#       5300-000                                   4,730.25          318,787.38
                                                            169; Filed: $6,115.38; Reference:
03/12/19       199         Rodolfo Almaguer                 Dividend paid 100.00% on $1,314.95; Claim#       5300-000                                   1,314.95          317,472.43
                                                            174; Filed: $1,700.00; Reference:
03/12/19       200         David A. Palmer                  Dividend paid 100.00% on $7,437.13; Claim#       5300-000                                   7,437.13          310,035.30
                                                            175; Filed: $9,614.92; Reference:
03/12/19       201         Jerry Wemhoff                    Dividend paid 100.00% on $9,649.41; Claim#       5300-000                                   9,649.41          300,385.89
                                                            176P; Filed: $12,475.00; Reference:
03/12/19       202         Oshik Song                       Dividend paid 100.00% on $5,115.90; Claim#       5300-000                                   5,115.90          295,269.99
                                                            178; Filed: $6,613.97; Reference:
03/12/19       203         Jose Thomas Guevara              Dividend paid 100.00% on $1,237.60; Claim#       5300-000                                   1,237.60          294,032.39
                                                            181; Filed: $1,600.00; Reference:
03/12/19       204         Mark Alan Wojtaszek              Dividend paid 100.00% on $966.87; Claim#         5300-000                                       966.87        293,065.52
                                                            182; Filed: $1,250.00; Reference:
                                                            Voided on 06/20/19
03/12/19       205         Maria Angelica Perez Hernandez   Dividend paid 100.00% on $1,438.71; Claim#       5300-000                                   1,438.71          291,626.81

                                                                                                  Subtotals :                          $0.00          $63,640.35
{| Asset reference(s)                                                                                                                      Printed: 03/03/2020 01:51 PM         V.14.66
                                      Case: 13-10118                Document: 2003                    Filed: 03/04/20                    Page 13 of 66

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                                                                                    Form 2                                                                                        Page: 9

                                                      Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                        Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                   Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                     Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                      Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                              Separate Bond: N/A

   1             2                          3                                        4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                T-Code              $                   $               Account Balance
                                                              184; Filed: $1,860.00; Reference:
03/12/19       206         Duniesqui Torres Ramirez           Dividend paid 100.00% on $1,624.35; Claim#        5300-000                                    1,624.35         290,002.46
                                                              185; Filed: $2,100.00; Reference:
03/12/19       207         Michel Hernandez Sanchez           Dividend paid 100.00% on $1,438.71; Claim#        5300-000                                    1,438.71         288,563.75
                                                              186; Filed: $1,860.00; Reference:
03/12/19       208         Efren Gonzalez                     Dividend paid 100.00% on $1,531.53; Claim#        5300-000                                    1,531.53         287,032.22
                                                              187; Filed: $1,980.00; Reference:
03/12/19       209         Ernesto Antonio Fuentes Lemus      Dividend paid 100.00% on $10.83; Claim#           5300-000                                        10.83        287,021.39
                                                              189P; Filed: $14.00; Reference:
                                                              Voided on 08/22/19
03/12/19       210         United States Treasury             Dividend paid 10.04% on $14,126.67; Filed:        5800-000                                    1,419.17         285,602.22
                                                              $0.00 for FICA
                                                              Voided on 03/27/19
03/12/19       211         United States Treasury             Dividend paid 10.04% on $12,587.59; Filed:        5800-000                                    1,264.55         284,337.67
                                                              $0.00 for FUTA
                                                              Voided on 03/27/19
03/12/19       212         United States Treasury             Dividend paid 10.04% on $3,303.85; Filed:         5800-000                                       331.90        284,005.77
                                                              $0.00 for Medicare
                                                              Voided on 03/27/19
03/12/19       213         Internal Revenue Service           Dividend paid 10.04% on $929,708.81;              5800-000                                   93,398.58         190,607.19
                                                              Claim# 6P-5; Filed: $929,708.81; Reference:
03/12/19       214         South Dakota Department of Labor   Dividend paid 10.04% on $30,635.86; Claim#        5800-000                                    3,077.68         187,529.51
                           & Regulation                       33; Filed: $30,635.86; Reference:
03/12/19       215         South Dakota Department of         Dividend paid 10.04% on $22,395.73; Claim#        5800-000                                    2,249.88         185,279.63
                           Revenue                            75 -2; Filed: $22,395.73; Reference:
03/12/19       216         South Dakota Department of         Dividend paid 10.04% on $848,891.07;              5800-000                                   85,279.63         100,000.00
                           Revenue                            Claim# 109P-3; Filed: $848,891.07; Reference:
03/19/19       182         Yamile Chavez Garcia               Dividend paid 100.00% on $1,005.55; Claim#        5300-000                                   -1,005.55         101,005.55
                                                              102; Filed: $1,300.00; Reference:
                                                              Stopped: check issued on 03/12/19
03/19/19       217         Yamile Chavez Garcia               Dividend paid 100.00% on $1,005.55; Claim#        5300-000                                    1,005.55         100,000.00
                                                              102; Filed: $1,300.00; Reference:
03/20/19       165         Richard D. Jensen                  Dividend paid 100.00% on $1,042.75; Claim#        5300-000                                   -1,042.75         101,042.75
                                                              62P; Filed: $1,348.10; Reference:
                                                              Stopped: check issued on 03/12/19
03/20/19       218         Richard D. Jensen                  Dividend paid 100.00% on $1,042.75; Claim#        5300-000                                    1,042.75         100,000.00
                                                              62P; Filed: $1,348.10; Reference:
03/26/19       162         Adolfo Garcia                      Dividend paid 100.00% on $1,847.63; Claim#        5300-000                                   -1,847.63         101,847.63
                                                              57; Filed: $2,388.67; Reference:

                                                                                                     Subtotals :                          $0.00       $189,779.18
{| Asset reference(s)                                                                                                                         Printed: 03/03/2020 01:51 PM         V.14.66
                                      Case: 13-10118           Document: 2003                   Filed: 03/04/20                    Page 14 of 66

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                                                    Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                  Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                             Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                               Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                        Separate Bond: N/A

   1             2                          3                                   4                                              5                     6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $                Account Balance
                                                         Stopped: check issued on 03/12/19
03/27/19       134         United States Treasury        Dividend paid 100.00% on $138.88; Filed:         6950-000                                       -138.88        101,986.51
                                                         $0.00 for FICA
                                                         Voided: check issued on 03/12/19
03/27/19       135         United States Treasury        Dividend paid 100.00% on $336.00; Filed:         6950-000                                       -336.00        102,322.51
                                                         $0.00 for Income Tax
                                                         Voided: check issued on 03/12/19
03/27/19       136         United States Treasury        Dividend paid 100.00% on $32.48; Filed: $0.00 6950-000                                           -32.48        102,354.99
                                                         for Medicare
                                                         Voided: check issued on 03/12/19
03/27/19       137         United States Treasury        Dividend paid 100.00% on $138.88; Filed:         6950-000                                       -138.88        102,493.87
                                                         $0.00 for FICA
                                                         Voided: check issued on 03/12/19
03/27/19       138         United States Treasury        Dividend paid 100.00% on $134.40; Filed:         6950-000                                       -134.40        102,628.27
                                                         $0.00 for FUTA
                                                         Voided: check issued on 03/12/19
03/27/19       139         United States Treasury        Dividend paid 100.00% on $32.48; Filed: $0.00 6950-000                                           -32.48        102,660.75
                                                         for Medicare
                                                         Voided: check issued on 03/12/19
03/27/19       141         United States Treasury        Dividend paid 100.00% on $14,126.67; Filed:      5300-000                                  -14,126.67          116,787.42
                                                         $0.00 for FICA
                                                         Voided: check issued on 03/12/19
03/27/19       142         United States Treasury        Dividend paid 100.00% on $34,177.43; Filed:      5300-000                                  -34,177.43          150,964.85
                                                         $0.00 for Income Tax
                                                         Voided: check issued on 03/12/19
03/27/19       143         United States Treasury        Dividend paid 100.00% on $3,303.85; Filed:       5300-000                                   -3,303.85          154,268.70
                                                         $0.00 for Medicare
                                                         Voided: check issued on 03/12/19
03/27/19       210         United States Treasury        Dividend paid 10.04% on $14,126.67; Filed:       5800-000                                   -1,419.17          155,687.87
                                                         $0.00 for FICA
                                                         Voided: check issued on 03/12/19
03/27/19       211         United States Treasury        Dividend paid 10.04% on $12,587.59; Filed:       5800-000                                   -1,264.55          156,952.42
                                                         $0.00 for FUTA
                                                         Voided: check issued on 03/12/19
03/27/19       212         United States Treasury        Dividend paid 10.04% on $3,303.85; Filed:        5800-000                                       -331.90        157,284.32
                                                         $0.00 for Medicare
                                                         Voided: check issued on 03/12/19
03/27/19       219         Adolfo Garcia                 Dividend paid 100.00% on $1,847.63; Claim#       5300-000                                   1,847.63           155,436.69
                                                         57; Filed: $2,388.67; Reference:


                                                                                                Subtotals :                         $0.00          $-53,589.06
{| Asset reference(s)                                                                                                                   Printed: 03/03/2020 01:51 PM          V.14.66
                                       Case: 13-10118                Document: 2003                    Filed: 03/04/20                    Page 15 of 66

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                                                         Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                         Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                    Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                      Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                       Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                               Separate Bond: N/A

   1             2                            3                                      4                                                5                     6                   7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                   $                Account Balance
03/27/19                   United States Treasury             Employee & employer payroll taxes Q1 2019                                                     54,037.74          101,398.95
                                                                 Employee medicare                 3,303.85      5300-000                                                      101,398.95
                                                                 distribution
                                                                 Employee FICA                    14,126.67      5300-000                                                      101,398.95
                                                                 distribution
                                                                 Employee FIT                     34,177.43      5300-000                                                      101,398.95
                                                                 distribution
                                                                 Employer Medicare                  331.90       5800-000                                                      101,398.95
                                                                 Distribution
                                                                 Employer FICA                     1,419.17      5800-000                                                      101,398.95
                                                                 distribution
                                                                 Employee FIT                       336.00       6950-000                                                      101,398.95
                                                                 distribution
                                                                 Employee FICA                      138.88       6950-000                                                      101,398.95
                                                                 distribution
                                                                 Employee Medicare                   32.48       6950-000                                                      101,398.95
                                                                 distribution
                                                                 Employer Medicare                   32.48       6950-000                                                      101,398.95
                                                                 distribution
                                                                 Employer FICA                      138.88       6950-000                                                      101,398.95
                                                                 distribution
03/27/19                   United States Treasury             ACH payment to EFTPS                                                                           1,398.95          100,000.00
                                                                 FUTA distribution                  134.40       6950-000                                                      100,000.00
                                                                 FUTA distribution                 1,264.55      5800-000                                                      100,000.00
04/29/19       220         SD Unemployment Insurance          2019 unemployment insurance                        5800-000                                    4,026.56           95,973.44
06/03/19       221         International Sureties, LTD        bond premium - 2019                                2300-000                                        33.53          95,939.91
06/20/19       179         Chad M. Wagenaar                   Dividend paid 100.00% on $1,734.62; Claim#         5300-000                                   -1,734.62           97,674.53
                                                              94; Filed: $2,242.56; Reference:
                                                              Voided: check issued on 03/12/19
06/20/19       204         Mark Alan Wojtaszek                Dividend paid 100.00% on $966.87; Claim#           5300-000                                       -966.87         98,641.40
                                                              182; Filed: $1,250.00; Reference:
                                                              Voided: check issued on 03/12/19
06/20/19       222         Chad M. Wagenaar                   Dividend paid 100.00% on $1,734.62; Claim#         5300-000                                    1,734.62           96,906.78
                                                              94; Filed: $2,242.56; Reference:
06/20/19       223         Mark Alan Wojtaszek                Dividend paid 100.00% on $966.87; Claim#           5300-000                                       966.87          95,939.91
                                                              182; Filed: $1,250.00; Reference:
06/21/19       145         Chelsie Anderson                   Dividend paid 100.00% on $2,528.76; Claim#         5300-000                                   -2,528.76           98,468.67
                                                              31; Filed: $3,269.23; Reference:


                                                                                                       Subtotals :                         $0.00          $56,968.02
{| Asset reference(s)                                                                                                                          Printed: 03/03/2020 01:51 PM          V.14.66
                                        Case: 13-10118            Document: 2003                       Filed: 03/04/20                    Page 16 of 66

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                                                       Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                         Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                    Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                                      Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                                       Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                               Separate Bond: N/A

   1             2                            3                                     4                                                 5                     6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction                   T-Code              $                   $               Account Balance
                                                            Voided: check issued on 03/12/19
06/21/19       224         Chelsie Anderson                 Dividend paid 100.00% on $2,528.76; Claim#           5300-000                                    2,528.76          95,939.91
                                                            31; Filed: $3,269.23; Reference:
07/17/19                   Transition Transfer Debit        Transition Transfer Debit                            9999-000                                   95,939.91                  0.00
08/22/19       140         Hilda Chairez                    Dividend paid 100.00% on $1,732.64,                  6950-000                                   -1,732.64              1,732.64
                                                            Administrative Post-Petition Wages (includes
                                                            tax and other withholdings); Reference:
                                                            Stopped: check issued on 03/12/19
08/22/19       154         Rene Ferrer Almarez              Dividend paid 100.00% on $4,713.31; Claim#           5300-000                                   -4,713.31              6,445.95
                                                            47; Filed: $6,093.50; Reference:
                                                            Stopped: check issued on 03/12/19
08/22/19       155         Wishlee Ringang                  Dividend paid 100.00% on $1,327.33; Claim#           5300-000                                   -1,327.33              7,773.28
                                                            48; Filed: $1,716.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       156         Rayanda Miyuki                   Dividend paid 100.00% on $1,126.22; Claim#           5300-000                                   -1,126.22              8,899.50
                                                            50; Filed: $1,456.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       157         Gary Renguul                     Dividend paid 100.00% on $1,246.89; Claim#           5300-000                                   -1,246.89          10,146.39
                                                            51; Filed: $1,612.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       158         Billy Ngirchoit                  Dividend paid 100.00% on $1,327.33; Claim#           5300-000                                   -1,327.33          11,473.72
                                                            52; Filed: $1,716.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       159         Free Ngirchomlei                 Dividend paid 100.00% on $1,166.43; Claim#           5300-000                                   -1,166.43          12,640.15
                                                            53; Filed: $1,508.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       160         Teddy Nobuo                      Dividend paid 100.00% on $1,117.31; Claim#           5300-000                                   -1,117.31          13,757.46
                                                            54; Filed: $1,444.50; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       172         Christian Arnao                  Dividend paid 100.00% on $1,123.50; Claim#           5300-000                                   -1,123.50          14,880.96
                                                            77; Filed: $1,452.50; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       177         Hieu Pham                        Dividend paid 100.00% on $2,863.42; Claim#           5300-000                                   -2,863.42          17,744.38
                                                            92; Filed: $3,701.91; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       192         Guadalupe Ibarra                 Dividend paid 100.00% on $2,165.80; Claim#           5300-000                                   -2,165.80          19,910.18
                                                            139; Filed: $2,800.00; Reference:
                                                            Voided: check issued on 03/12/19
08/22/19       209         Ernesto Antonio Fuentes Lemus    Dividend paid 100.00% on $10.83; Claim#              5300-000                                       -10.83         19,921.01

                                                                                                      Subtotals :                          $0.00          $78,547.66
{| Asset reference(s)                                                                                                                          Printed: 03/03/2020 01:51 PM         V.14.66
                                      Case: 13-10118          Document: 2003                   Filed: 03/04/20                    Page 17 of 66

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                                                  Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                 Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                            Bank Name:          Mechanics Bank
                     PARTNERSHIP                                                              Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***0200                                                               Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                       Separate Bond: N/A

   1             2                         3                                   4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From          Description of Transaction                T-Code              $                   $              Account Balance
                                                        189P; Filed: $14.00; Reference:
                                                        Voided: check issued on 03/12/19
08/26/19                   Metropolitan Bank            transfer funds to new bank account               9999-000                                   19,921.01                 0.00

                                                                             ACCOUNT TOTALS                                1,099,376.86        1,099,376.86                 $0.00
                                                                                    Less: Bank Transfers                            0.00          115,860.92
                                                                             Subtotal                                      1,099,376.86           983,515.94
                                                                                    Less: Payments to Debtors                                            0.00
                                                                             NET Receipts / Disbursements                $1,099,376.86         $983,515.94




{| Asset reference(s)                                                                                                                  Printed: 03/03/2020 01:51 PM        V.14.66
                                       Case: 13-10118              Document: 2003                     Filed: 03/04/20                   Page 18 of 66

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                                                        Cash Receipts And Disbursements Record
Case Number:         13-10118                                                                       Trustee:            Forrest Allred, Chapter 7 Trustee (610080)
Case Name:           NORTHERN BEEF PACKERS LIMITED                                                  Bank Name:          Metropolitan Commercial Bank
                     PARTNERSHIP                                                                    Account:            ******8154 - Checking Account
Taxpayer ID #:       **-***0200                                                                     Blanket Bond:       $25,767,000.00 (per case limit)
Period Ending: 03/03/20                                                                             Separate Bond: N/A

   1             2                           3                                       4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From                Description of Transaction                T-Code              $                  $               Account Balance
07/17/19                   Transition Transfer Credit        Transition Transfer Credit                        9999-000             95,939.91                               95,939.91
08/26/19      {23|         Norse Electric                    preference                                        1241-000              7,000.00                              102,939.91
08/26/19                   Transition Transfer Credit        Transition Transfer Credit                        9999-000             19,921.01                              122,860.92
09/10/19                   Clerk US Bankruptcy Court         ACH payment to Court - unclaimed funds                                                       19,921.01        102,939.91
                                                                unclaimed funds                 1,732.64       6950-001                                                    102,939.91
                                                                unclaimed funds                 4,713.31       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,327.33       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,126.22       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,246.89       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,327.33       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,166.43       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,117.31       5300-001                                                    102,939.91
                                                                unclaimed funds                 1,123.50       5300-001                                                    102,939.91
                                                                unclaimed funds                 2,863.42       5300-001                                                    102,939.91
                                                                unclaimed funds                 2,165.80       5300-001                                                    102,939.91
                                                                unclaimed funds                    10.83       5300-001                                                    102,939.91

                                                                                   ACCOUNT TOTALS                                 122,860.92              19,921.01       $102,939.91
                                                                                          Less: Bank Transfers                    115,860.92                   0.00
                                                                                   Subtotal                                          7,000.00             19,921.01
                                                                                          Less: Payments to Debtors                                            0.00
                                                                                   NET Receipts / Disbursements                     $7,000.00           $19,921.01



                                                                                                                                      Net              Net                   Account
                                                                                   TOTAL - ALL ACCOUNTS                             Receipts      Disbursements              Balances

                                                                                   Checking # ******2566                         1,099,376.86           983,515.94                  0.00
                                                                                   Checking # ******8154                             7,000.00             19,921.01        102,939.91

                                                                                                                               $1,106,376.86       $1,003,436.95          $102,939.91




{| Asset reference(s)                                                                                                                        Printed: 03/03/2020 01:51 PM        V.14.66
                              Case: 13-10118            Document: 2003            Filed: 03/04/20          Page 19 of 66




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                                Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                          Claimant /                                    Amount          Amount           Paid          Claim       Proposed
Claim #      Date   Pri   Proof / <Category> / Memo                      Filed          Allowed         to Date       Balance      Payment

Secured Claims:

  7       08/05/13 900 Diamond Vogel Paints                           2,819.00       2,819.00               0.00        2,819.00        0.00
                       PO Box 380
                       Orange City, IA 51041
                       <4120-00 Real Estate--Non-consensual Liens (judgments, mechanics liens)>
  19      08/09/13 900 Western Equipment Finance, Inc.               19,678.25        19,678.25             0.00      19,678.25         0.00
                       fka Western Finance & Lease, Inc.
                       Attn: Robin Steffan,P.O. Box 640
                       Devils Lake, ND 58301
                       <4220-00 Pers. Prop. & Intangibles--Nonconsensual Liens (judgements, storage liens)>
  22      08/09/13 900 Brown County, SD                           1,035,743.27   1,035,743.27               0.00    1,035,743.27        0.00
                       c/o Thomas J. Cogley
                       PO Box 759
                       Aberdeen, SD 57402-0756
                       <4120-00 Real Estate--Non-consensual Liens (judgments, mechanics liens)>
  28      08/19/13 900 Axis Capital, Inc                              36,675.15      36,675.15              0.00      36,675.15         0.00
                       PO Box 2555
                       Grand Island, NE 68802
                       <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>
  29      08/19/13 900 Axis Capital, Inc                            168,341.77      168,341.77              0.00     168,341.77         0.00
                       PO Box 2555
                       Grand Island, NE 68802
                       <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>
  65 -2   09/13/13 900 Official Committee of Unsecured            64,450,638.20   64,450,638.20             0.00   64,450,638.20        0.00
                       Creditors
                       Steve Jakubowski, Esq., RSP, Ltd.
                       180 N. LaSalle, Suite 3300
                       Chicago, IL 60601
                       <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>
  69      09/20/13 900 Scott Olson Digging, Inc.                   3,311,417.00     3,311,417.00            0.00    3,311,417.00        0.00
                       Wilkinson & Wilkinson
                       103 Joliet Avenue, S.E.,PO Box 29
                       DeSmet, SD 57231
                       <4220-00 Pers. Prop. & Intangibles--Nonconsensual Liens (judgements, storage liens)>
 118      11/01/13 900 Sealed Air Corporation                      1,961,226.19    1,961,226.19             0.00    1,961,226.19        0.00
                       c/o Cole Schotz Meisel Forman & Leoanrd
                       Attn: Ilana Volkov, Esq.,25 Main Street
                       Hackensack, NJ 07601
                       <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>
 123S     11/04/13 900 RockTenn CP, LLC                             543,489.00      543,489.00              0.00     543,489.00         0.00
                       Chris Berg, Esq.
                       504 Thrasher Street
                       Norcross, GA 30071
                       <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>
                              Case: 13-10118            Document: 2003               Filed: 03/04/20       Page 20 of 66




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                                 Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                          Claimant /                                    Amount           Amount          Paid           Claim       Proposed
Claim #      Date   Pri   Proof / <Category> / Memo                      Filed           Allowed        to Date        Balance      Payment

 125S-2   11/05/13 900 NorthWestern Energy                          272,000.00       272,000.00             0.00      272,000.00         0.00
                       40 East Broadway St.
                       Butte, MT 59701
                       <4220-00 Pers. Prop. & Intangibles--Nonconsensual Liens (judgements, storage liens)>
 146      06/15/16 900 Diamond Vogel Paints                           2,819.00        2,819.00              0.00         2,819.00        0.00
                       PO Box 380
                       Orange City, IA 51041
                       <4220-00 Pers. Prop. & Intangibles--Nonconsensual Liens (judgements, storage liens)>

                Total for Priority 900:   0% Paid                   $71,804,846.83   $71,804,846.83        $0.00   $71,804,846.83       $0.00

                                   Total for Secured Claims:        $71,804,846.83   $71,804,846.83        $0.00   $71,804,846.83       $0.00


Admin Ch. 7 Claims:

          04/27/15 200 Patrick T. Dougherty                           10,865.00           10,865.00    10,865.00             0.00        0.00
                       <3210-00 Attorney for Trustee Fees (Other Firm)>
                       ORDER - doc. 1531
          04/27/15 200 Patrick T. Dougherty                           19,583.50           19,583.50    19,583.50             0.00        0.00
                       <3210-00 Attorney for Trustee Fees (Other Firm)>
                       ORDER - doc. 1531
          04/27/15 200 Patrick T. Dougherty                              302.08             302.08        302.08             0.00        0.00
                       <3220-00 Attorney for Trustee Expenses (Other Firm)>
                       ORDER - doc. 1531
          04/27/15 200 Patrick T. Dougherty                              322.56             322.56        322.56             0.00        0.00
                       <3220-00 Attorney for Trustee Expenses (Other Firm)>
                       ORDER - doc. 1531
          04/27/15 200 Robbins, Salomon & Patt, Ltd.                  29,554.13           29,554.13    29,554.13             0.00        0.00
                       <3210-00 Attorney for Trustee Fees (Other Firm)>
                       ORDER - doc 1531
          04/27/15 200 Robbins, Salomon & Patt, Ltd.                  13,379.06           13,379.06    13,379.06             0.00        0.00
                       <3210-00 Attorney for Trustee Fees (Other Firm)>
                       ORDER - doc 1636
          04/27/15 200 Forrest Allred, Chapter 7 Trustee                 55,036.52        55,036.52    53,218.84         1,817.68     1,817.68
                       14 2nd Ave SE
                       Suite 200
                       Aberdeen, SD 57401
                       <2100-00 Trustee Compensation>
                       Interim compensation on administrative claims
          04/27/15 200 Forrest Allred, Chapter 7 Trustee                  1,550.51         1,550.51     1,242.41          308.10       308.10
                       14 2nd Ave SE
                       Suite 200
                       Aberdeen, SD 57401
                       <2200-00 Trustee Expenses>
                       Interim expenses
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                                 Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                          Claimant /                                     Amount          Amount         Paid      Claim     Proposed
Claim #      Date   Pri   Proof / <Category> / Memo                       Filed          Allowed       to Date   Balance    Payment

          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1002 Allred vs Elanco Animal Health
          04/27/15 200 Clerk US Bankruptcy Court                           350.00           350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1003 Allred vs Hase Plumbing, Heating, & Air
          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1004 Allred vs NAV Analytics
          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1005 Allred vs Norse Electric
          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1006 Allred vs PB Metal Fab LLC
          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1007 Allred vs RMS Research Management
          04/27/15 200 Clerk US Bankruptcy Court                          350.00            350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1008 Allred vs United Rentals North America
          04/27/15 200 Clerk US Bankruptcy Court                         350.00             350.00      350.00       0.00        0.00
                       Room 203 Federal Building and
                       U.S. Courthouse225 S. Pierre S
                       Pierre, SD 57501
                       <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>
                       Adv 16-1010 Allred vs Rock Tenn CP LLC
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                          Claimant /                                     Amount         Amount            Paid       Claim      Proposed
Claim #      Date   Pri   Proof / <Category> / Memo                       Filed         Allowed          to Date    Balance     Payment

          04/27/15 200 Eide Bailly, LLP                                5,363.34           5,363.34       5,363.34        0.00         0.00
                       <3410-00 Accountant for Trustee Fees (Other Firm)>
                       (doc. 1872)
          09/01/15 200 United States Trustee                               325.00          325.00          325.00        0.00         0.00
                       210 Walnut Street
                       Room 793
                       Des Moines, IA 50309-2108
                       <2950-00 U.S. Trustee Quarterly Fees>
                Total for Priority 200:   100% Paid                    $139,081.70     $139,081.70    $136,955.92   $2,125.78    $2,125.78

                              Total for Admin Ch. 7 Claims:            $139,081.70     $139,081.70    $136,955.92   $2,125.78    $2,125.78


Admin Ch. 11 Claims:

          04/27/15 300 Bantz, Gosch & Cremer, L.L.C.                    6,284.48        6,284.48         6,284.48        0.00         0.00
                       <6210-00 Attorney for Trustee/D-I-P Fees (Other Firm) (Chapter 11)>
                       ORDER - doc. 1592
          04/27/15 300 Bantz, Gosch & Cremer, L.L.C.                    850.27           850.27            850.27        0.00         0.00
                       <6220-00 Attorney for Trustee/D-I-P Expenses (Other Firm) (Chapter 11)>
                       ORDER - doc. 1592
          04/27/15 300 Cozen O'Connor                                149,139.36       149,139.36       149,139.36        0.00         0.00
                       <6210-00 Attorney for Trustee/D-I-P Fees (Other Firm) (Chapter 11)>
                       ORDER - doc. 1529
          04/27/15 300 Cozen O'Connor                                  7,077.72        7,077.72          7,077.72        0.00         0.00
                       <6220-00 Attorney for Trustee/D-I-P Expenses (Other Firm) (Chapter 11)>
                       ORDER - doc. 1529
          04/27/15 300 Patrick T. Dougherty                           11,768.40          11,768.40      11,768.40        0.00         0.00
                       <6700-00 Other Professional Fees (Prior Chapter)>
                       ORDER - doc. 1530
          04/27/15 300 Robbins, Salomon & Patt, Ltd.                  42,422.67          42,422.67      42,422.67        0.00         0.00
                       <6700-00 Other Professional Fees (Prior Chapter)>
                       ORDER - doc 1530
          04/27/15 300 Karl Wagner                                     3,438.75           3,438.75       3,438.75        0.00         0.00
                       <6700-00 Other Professional Fees (Prior Chapter)>
                       ORDER - doc. 1372
          04/27/15 300 Karl Wagner                                      299.73             299.73          299.73        0.00         0.00
                       <6710-00 Other Professional Expenses (Prior Chapter)>
                       ORDER - doc. 1372
          09/22/14 300 United States Treasury                              0.00           138.88           138.88        0.00         0.00
                       FICA
                       <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                       [Employee FICA Distribution:
                           Claim    142 $138.88 Hilda Chairez
                       ]
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                           Claimant /                                     Amount         Amount            Paid       Claim     Proposed
Claim #       Date   Pri   Proof / <Category> / Memo                       Filed         Allowed          to Date    Balance    Payment

           09/22/14 300 United States Treasury                              0.00           336.00           336.00       0.00        0.00
                        Income Tax
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Employee Income Tax Distribution:
                            Claim    142 $336.00 Hilda Chairez
                        ]
           09/22/14 300 United States Treasury                              0.00            32.48            32.48       0.00        0.00
                        Medicare
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Employee Medicare Distribution:
                            Claim    142 $32.48 Hilda Chairez
                        ]
           09/22/14 300 United States Treasury                              0.00           138.88           138.88       0.00        0.00
                        FICA
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Employer FICA Distribution:
                            Claim    142 $138.88 Hilda Chairez
                        ]
           09/22/14 300 United States Treasury                              0.00            32.48            32.48       0.00        0.00
                        Medicare
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Employer Medicare Distribution:
                            Claim    142 $32.48 Hilda Chairez
                        ]
           09/22/14 300 United States Treasury                              0.00           134.40           134.40       0.00        0.00
                        FUTA
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Employer FUTA Distribution:
                            Claim    142 $134.40 Hilda Chairez
                        ]
           09/22/14 300 Hilda Chairez                                   2,240.00          1,732.64        1,732.64      0.00         0.00
                        211 S. Silverwood Ln. Apt D
                        Goshen, IN 46526
                        <6950-00 Other Operating Expenses (incl. ch 11 sales and payroll taxes paid during ch 7)>
                        [Gross Wage $2240.00 Less Taxes = Net $1732.64 FICA $138.88 Income Tax $336.00 Medicare $32.48]

                  Total for Priority 300:    100% Paid                  $223,521.38     $223,827.14    $223,827.14      $0.00       $0.00

                                  Total for Admin Ch. 11 Claims:        $223,521.38     $223,827.14    $223,827.14      $0.00       $0.00


Priority Claims:

 121P      11/04/13 505 Farnam Street Financial, Inc.                    202,972.00            0.00           0.00       0.00        0.00
                        Attn: Steven C. Morgan                                                *
                        5850 Opus Parkway, Suite 240
                        Minnetonka, MN 55343
                        <5200-00 Unsecured Claims Allowed>
                        reduced (doc. 1797)
                  Priority 505:    0% Paid




 (*) Denotes objection to Amount Filed
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                         Claimant /                                   Amount         Amount          Paid        Claim     Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                     Filed         Allowed        to Date     Balance    Payment

          08/26/13 510 United States Treasury                              0.00       34,177.43     34,177.43       0.00        0.00
                       Income Tax
                       <5300-00 Wages>
                       [Employee Income Tax Distribution:
                           Claim     24 $467.31 Amy Moore Rissmann
                           Claim     31 $490.38 Chelsie Anderson
                           Claim     36 $187.56 Maite Vila
                           Claim     37 $304.51 Sancti Reyes
                           Claim     38 $995.44 Jeremy E. Randolph
                            Claim    39    $275.00 Maria D. Carrera
                            Claim    40    $566.65 Soila Martinez
                            Claim   41     $277.78 Ramiro Martinez-Hernandez
                            Claim    47    $914.03 Rene Ferrer Almarez
                            Claim    48    $257.40 Wishlee Ringang
                            Claim    50    $218.40 Rayanda Miyuki
                            Claim    51    $241.80 Gary Renguul
                            Claim    52    $257.40 Billy Ngirchoit
                            Claim    53    $226.20 Free Ngirchomlei
                            Claim    54    $216.68 Teddy Nobuo
                            Claim    55    $162.83 Robert Geist
                            Claim    57    $358.30 Adolfo Garcia
                            Claim    58    $1337.42 Steven R. Ballinger
                            Claim    61    $324.00 Kevin Herren
                            Claim    62P    $202.22 Richard D. Jensen
                            Claim    66    $569.48 Jay Thomas Rossman
                            Claim    68    $582.60 Corey Schuh
                            Claim    70    $885.00 Clyde Eisenbeisz
                            Claim    73    $241.80 Dayma Martin Sobera
                            Claim    74    $226.20 Michel Perdomo Carballo
                            Claim   76     $1545.00 Amandon Wilhelm
                            Claim    77    $217.88 Christian Arnao
                            Claim    80    $147.47 Matthew Nygaard
                            Claim    81    $707.77 Allan M. Brandner
                            Claim   83     $646.65 Clark White
                            Claim    92    $555.29 Hieu Pham
                            Claim    93    $768.58 Allen Kolb
                            Claim   94     $336.38 Chad M. Wagenaar
                            Claim    99    $750.00 Suzanne Morrow
                            Claim   100     $0.00 Tanya Lynette Glodrey
                            Claim   101     $210.60 Alberto Figueras Cabrisas
                            Claim   102     $195.00 Yamile Chavez Garcia
                            Claim   108     $225.00 Suzette Wirth
                            Claim   112     $234.26 Shannon Anderson
                            Claim   113     $253.07 Malinda Johnson
                            Claim   119     $558.26 Shaine C. Anderson
                            Claim   128     $924.21 William Moon
                            Claim   129     $571.27 Brian Hoff
                            Claim   130     $822.02 Joe Moslander
                            Claim   134     $720.69 Fabian Angeles
                            Claim   139     $420.00 Guadalupe Ibarra
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                                Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                  Amount       Amount         Paid       Claim     Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                    Filed       Allowed       to Date    Balance    Payment
                             Claim   140 $261.71 Obono Alual
                             Claim   141 $374.40 Lisa Dauwen
                             Claim    34P-2 $1762.50 Gary Lorensen
                             Claim    86 $690.00 Alan D. Bell
                             Claim   106 $412.80 Richard Garrett Hulshof
                             Claim   150 $623.16 Tanya Lynette Glodrey
                             Claim   159 $270.00 Anthony C. Frenier Sr.
                             Claim   160 $611.27 Darrell Berreth
                             Claim   169 $917.31 Jonghwan Kim
                             Claim   174 $255.00 Rodolfo Almaguer
                             Claim   175 $1442.24 David A. Palmer
                             Claim   176P $1871.25 Jerry Wemhoff
                             Claim   178 $992.10 Oshik Song
                             Claim   181 $240.00 Jose Thomas Guevara
                             Claim   182 $187.50 Mark Alan Wojtaszek
                             Claim   184 $279.00 Maria Angelica Perez Hernandez
                             Claim   185 $315.00 Duniesqui Torres Ramirez
                             Claim   186 $279.00 Michel Hernandez Sanchez
                             Claim   187 $297.00 Efren Gonzalez
                             Claim   189P $2.10 Ernesto Antonio Fuentes Lemus
                             Claim    44 $498.30 Robb Krokel
                         ]
          08/26/13 510 United States Treasury                          0.00        3,303.85     3,303.85       0.00        0.00
                       Medicare
                       <5300-00 Wages>
                       [Employee Medicare Distribution:
                           Claim     24 $45.17 Amy Moore Rissmann
                           Claim     31 $47.40 Chelsie Anderson
                           Claim     36 $18.13 Maite Vila
                           Claim     37 $29.44 Sancti Reyes
                           Claim     38 $96.23 Jeremy E. Randolph
                           Claim     39 $26.58 Maria D. Carrera
                           Claim     40 $54.78 Soila Martinez
                           Claim     41 $26.85 Ramiro Martinez-Hernandez
                           Claim     47 $88.36 Rene Ferrer Almarez
                           Claim     48 $24.88 Wishlee Ringang
                           Claim     50 $21.11 Rayanda Miyuki
                           Claim     51 $23.37 Gary Renguul
                           Claim     52 $24.88 Billy Ngirchoit
                           Claim     53 $21.87 Free Ngirchomlei
                           Claim     54 $20.95 Teddy Nobuo
                           Claim     55 $15.74 Robert Geist
                           Claim     57 $34.64 Adolfo Garcia
                           Claim     58 $129.28 Steven R. Ballinger
                           Claim     61 $31.32 Kevin Herren
                           Claim     62P $19.55 Richard D. Jensen
                           Claim     66 $55.05 Jay Thomas Rossman
                           Claim     68 $56.32 Corey Schuh
                           Claim     70 $85.55 Clyde Eisenbeisz
                           Claim     73 $23.37 Dayma Martin Sobera
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                        Claimant /                                    Amount      Amount          Paid      Claim    Proposed
Claim #    Date   Pri   Proof / <Category> / Memo                      Filed      Allowed        to Date   Balance   Payment
                            Claim    74   $21.87 Michel Perdomo Carballo
                            Claim   76    $149.35 Amandon Wilhelm
                            Claim    77   $21.06 Christian Arnao
                            Claim    80   $14.26 Matthew Nygaard
                            Claim    81   $68.42 Allan M. Brandner
                            Claim    83   $62.51 Clark White
                            Claim    92   $53.68 Hieu Pham
                            Claim    93   $74.30 Allen Kolb
                            Claim   94    $32.52 Chad M. Wagenaar
                            Claim    99   $72.50 Suzanne Morrow
                            Claim   100    $0.00 Tanya Lynette Glodrey
                            Claim   101    $20.36 Alberto Figueras Cabrisas
                            Claim   102    $18.85 Yamile Chavez Garcia
                            Claim   108 $21.75 Suzette Wirth
                            Claim   112 $22.65 Shannon Anderson
                            Claim   113 $24.46 Malinda Johnson
                            Claim   119 $53.97 Shaine C. Anderson
                            Claim   128 $89.34 William Moon
                            Claim   129 $55.22 Brian Hoff
                            Claim   130 $79.46 Joe Moslander
                            Claim   134 $69.67 Fabian Angeles
                            Claim   139 $40.60 Guadalupe Ibarra
                            Claim   140 $25.30 Obono Alual
                            Claim   141 $36.19 Lisa Dauwen
                            Claim    34P-2 $170.38 Gary Lorensen
                            Claim    86 $66.70 Alan D. Bell
                            Claim   106 $39.90 Richard Garrett Hulshof
                            Claim   150 $60.24 Tanya Lynette Glodrey
                            Claim   159 $26.10 Anthony C. Frenier Sr.
                            Claim   160 $59.09 Darrell Berreth
                            Claim   169 $88.67 Jonghwan Kim
                            Claim   174 $24.65 Rodolfo Almaguer
                            Claim   175 $139.42 David A. Palmer
                            Claim   176P $180.89 Jerry Wemhoff
                            Claim   178 $95.90 Oshik Song
                            Claim   181 $23.20 Jose Thomas Guevara
                            Claim   182 $18.13 Mark Alan Wojtaszek
                            Claim   184 $26.97 Maria Angelica Perez Hernandez
                            Claim   185 $30.45 Duniesqui Torres Ramirez
                            Claim   186 $26.97 Michel Hernandez Sanchez
                            Claim   187 $28.71 Efren Gonzalez
                            Claim   189P $0.20 Ernesto Antonio Fuentes Lemus
                            Claim    44 $48.17 Robb Krokel
                        ]
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                    Amount      Amount          Paid        Claim     Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                      Filed      Allowed        to Date     Balance    Payment

          08/26/13 510 United States Treasury                          0.00         14,126.67     14,126.67       0.00        0.00
                       FICA
                       <5300-00 Wages>
                       [Employee FICA Distribution:
                           Claim     24 $193.15 Amy Moore Rissmann
                           Claim     31 $202.69 Chelsie Anderson
                           Claim     36 $77.52 Maite Vila
                           Claim     37 $125.86 Sancti Reyes
                           Claim     38 $411.45 Jeremy E. Randolph
                           Claim     39 $113.67 Maria D. Carrera
                           Claim     40 $234.22 Soila Martinez
                           Claim     41 $114.81 Ramiro Martinez-Hernandez
                           Claim     47 $377.80 Rene Ferrer Almarez
                           Claim     48 $106.39 Wishlee Ringang
                           Claim     50 $90.27 Rayanda Miyuki
                           Claim     51 $99.94 Gary Renguul
                           Claim     52 $106.39 Billy Ngirchoit
                            Claim    53    $93.50 Free Ngirchomlei
                            Claim    54    $89.56 Teddy Nobuo
                            Claim    55    $67.30 Robert Geist
                            Claim    57    $148.10 Adolfo Garcia
                            Claim    58    $552.80 Steven R. Ballinger
                            Claim    61    $133.92 Kevin Herren
                            Claim    62P    $83.58 Richard D. Jensen
                            Claim    66    $235.39 Jay Thomas Rossman
                            Claim    68    $240.81 Corey Schuh
                            Claim    70    $365.80 Clyde Eisenbeisz
                            Claim    73    $99.94 Dayma Martin Sobera
                            Claim    74    $93.50 Michel Perdomo Carballo
                            Claim    76    $638.60 Amandon Wilhelm
                            Claim    77    $90.06 Christian Arnao
                            Claim    80    $60.96 Matthew Nygaard
                            Claim    81    $292.54 Allan M. Brandner
                            Claim   83     $267.28 Clark White
                            Claim    92    $229.52 Hieu Pham
                            Claim    93    $317.68 Allen Kolb
                            Claim   94     $139.04 Chad M. Wagenaar
                            Claim    99    $310.00 Suzanne Morrow
                            Claim   100     $0.00 Tanya Lynette Glodrey
                            Claim   101     $87.05 Alberto Figueras Cabrisas
                            Claim   102     $80.60 Yamile Chavez Garcia
                            Claim   108     $93.00 Suzette Wirth
                            Claim   112     $96.83 Shannon Anderson
                            Claim   113     $104.60 Malinda Johnson
                            Claim   119     $230.75 Shaine C. Anderson
                            Claim   128     $382.01 William Moon
                            Claim   129     $236.13 Brian Hoff
                            Claim   130     $339.77 Joe Moslander
                            Claim   134     $297.89 Fabian Angeles
                            Claim   139     $173.60 Guadalupe Ibarra
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                                Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                    Amount         Amount          Paid      Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                      Filed         Allowed        to Date   Balance      Payment
                             Claim   140 $108.17 Obono Alual
                             Claim   141 $154.75 Lisa Dauwen
                             Claim    34P-2 $728.50 Gary Lorensen
                             Claim    86 $285.20 Alan D. Bell
                             Claim   106 $170.62 Richard Garrett Hulshof
                             Claim   150 $257.57 Tanya Lynette Glodrey
                             Claim   159 $111.60 Anthony C. Frenier Sr.
                             Claim   160 $252.66 Darrell Berreth
                             Claim   169 $379.15 Jonghwan Kim
                             Claim   174 $105.40 Rodolfo Almaguer
                             Claim   175 $596.13 David A. Palmer
                             Claim   176P $773.45 Jerry Wemhoff
                             Claim   178 $410.07 Oshik Song
                             Claim   181 $99.20 Jose Thomas Guevara
                             Claim   182 $77.50 Mark Alan Wojtaszek
                             Claim   184 $115.32 Maria Angelica Perez Hernandez
                             Claim   185 $130.20 Duniesqui Torres Ramirez
                             Claim   186 $115.32 Michel Hernandez Sanchez
                             Claim   187 $122.76 Efren Gonzalez
                             Claim   189P $0.87 Ernesto Antonio Fuentes Lemus
                             Claim    44 $205.96 Robb Krokel
                         ]
          08/26/13 510 United States Treasury                          0.00            8,615.79         0.00    8,615.79      8,615.79
                       Income Tax
                       <5300-00 Wages>
                       [Employee Income Tax Distribution:
                           Claim     145 $267.22      Kerry Christman
                           Claim     188 $1449.12 Jerry Bennett
                           Claim     191 $1871.25 Karl J. Wagner
                           Claim     192 $1307.70 Blair Younker
                           Claim     193 $510.53 George Alvarado
                           Claim     194 $561.81 Richard D. Jensen
                           Claim     195 $265.49 Mabel L. Muniz Garcia
                           Claim     196 $360.00 Armeris Rafael Tamayo Pavon
                           Claim     197 $480.47 Rafaela Estrada
                           Claim     198 $464.28 Ledydis Estrada
                           Claim     199 $383.43 Jesus Meirama Ganzalez
                           Claim     201 $694.49 Donald Wagner
          08/26/13 510 United States Treasury                               0.00       3,561.21         0.00    3,561.21      3,561.21
                       FICA
                       <5300-00 Wages>
                       [Employee FICA Distribution:
                           Claim     145 $110.45        Kerry Christman
                           Claim     188 $598.97      Jerry Bennett
                           Claim     191 $773.45      Karl J. Wagner
                           Claim     192 $540.51      Blair Younker
                           Claim     193 $211.02       George Alvarado
                           Claim     194 $232.22       Richard D. Jensen
                           Claim     195 $109.74       Mabel L. Muniz Garcia
                           Claim     196 $148.80       Armeris Rafael Tamayo Pavon
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                                   Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                           Claimant /                                     Amount          Amount          Paid      Claim         Proposed
Claim #       Date   Pri   Proof / <Category> / Memo                       Filed          Allowed        to Date   Balance        Payment
                               Claim     197   $198.59    Rafaela Estrada
                               Claim     198   $191.91    Ledydis Estrada
                               Claim     199   $158.49    Jesus Meirama Ganzalez
                               Claim     201   $287.02    Donald Wagner
           08/26/13 510 United States Treasury                                 0.00         832.86          0.00        832.86       832.86
                        Medicare
                        <5300-00 Wages>
                        [Employee Medicare Distribution:
                            Claim     145 $25.83      Kerry Christman
                               Claim     188   $140.08    Jerry Bennett
                               Claim     191   $180.89    Karl J. Wagner
                               Claim     192   $126.41    Blair Younker
                               Claim     193   $49.35    George Alvarado
                               Claim     194   $54.31    Richard D. Jensen
                               Claim     195   $25.67    Mabel L. Muniz Garcia
                               Claim     196   $34.80    Armeris Rafael Tamayo Pavon
                               Claim     197   $46.44    Rafaela Estrada
                               Claim     198   $44.88    Ledydis Estrada
                               Claim     199   $37.07    Jesus Meirama Ganzalez
                               Claim     201   $67.13    Donald Wagner
  24       08/13/13 510 Amy Moore Rissmann                            3,115.38        2,409.75      2,409.75            0.00           0.00
                        301 Reed Street                                                   *
                        Amenia, ND 58004-4006
                        <5300-00 Wages>
                        [Gross Wage $3115.38 Less Taxes = Net $2409.75 FICA $193.15 Income Tax $467.31 Medicare $45.17]
                        (doc. 1840)
  31       08/19/13 510 Chelsie Anderson                              3,269.23        2,528.76      2,528.76            0.00           0.00
                        5779 Overlook Lane                                                *
                        Monticello, MN 55362
                        <5300-00 Wages>
                        [Gross Wage $3269.23 Less Taxes = Net $2528.76 FICA $202.69 Income Tax $490.38 Medicare $47.40]
                        (doc. 1840)
  34P-2    08/19/13 510 Gary Lorensen                                11,750.00        9,088.62      9,088.62          0.00             0.00
                        21016 Hwy 12                                                      *
                        Westfield, IA 51062-8636
                        <5300-00 Wages>
                        [Gross Wage $11750.00 Less Taxes = Net $9088.62 FICA $728.50 Income Tax $1762.50 Medicare $170.38]
                        (doc. 1840)
  36       08/19/13 510 Maite Vila                                     1,250.40        967.19         967.19              0.00         0.00
                        620 NE 8th Ave.                                                  *
                        Apt. 2
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1250.40 Less Taxes = Net $967.19 FICA $77.52 Income Tax $187.56 Medicare $18.13]
                        reduced (doc. 1796)




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  37       08/19/13 510 Sancti Reyes                                  2,030.08        1,570.27      1,570.27            0.00         0.00
                        620 NE 8th Ave Apt 2                                              *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $2030.08 Less Taxes = Net $1570.27 FICA $125.86 Income Tax $304.51 Medicare $29.44]
                        reduced (doc. 1838)
  38       08/19/13 510 Jeremy E. Randolph                            6,636.25        5,133.13      5,133.13            0.00         0.00
                        c/o Kimberly Randolph                                             *
                        PO Box 172
                        Conde, SD 57434
                        <5300-00 Wages>
                        [Gross Wage $6636.25 Less Taxes = Net $5133.13 FICA $411.45 Income Tax $995.44 Medicare $96.23]
                        (doc. 1840) - POC
  39       08/20/13 510 Maria D. Carrera                              1,833.34        1,418.09      1,418.09            0.00         0.00
                        6402 93rd Street                                                  *
                        Lubbock, TX 79424
                        <5300-00 Wages>
                        [Gross Wage $1833.34 Less Taxes = Net $1418.09 FICA $113.67 Income Tax $275.00 Medicare $26.58]
                        reduced (doc. 1793)
  40       08/20/13 510 Soila Martinez                                3,777.69        2,922.04      2,922.04            0.00         0.00
                        PO Box 2153                                                       *
                        Aberdeen, SD 57402
                        <5300-00 Wages>
                        [Gross Wage $3777.69 Less Taxes = Net $2922.04 FICA $234.22 Income Tax $566.65 Medicare $54.78]
                        reduced (doc. 1837)
  41       08/20/13 510 Ramiro Martinez-Hernandez                     1,851.84        1,432.40      1,432.40            0.00         0.00
                        PO Box 2153                                                       *
                        Aberdeen, SD 57402
                        <5300-00 Wages>
                        [Gross Wage $1851.84 Less Taxes = Net $1432.40 FICA $114.81 Income Tax $277.78 Medicare $26.85]
                        (doc. 1840)
  44       08/26/13 510 Robb Krokel                                   3,322.00        2,569.57      2,569.57            0.00         0.00
                        208 11th Ave SE
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $3322.00 Less Taxes = Net $2569.57 FICA $205.96 Income Tax $498.30 Medicare $48.17]
  47       08/28/13 510 Rene Ferrer Almarez                           6,093.50        4,713.31      4,713.31            0.00         0.00
                        Rene Ferrer A.                                                    *
                        202 SE 9 Ave. #3
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $6093.50 Less Taxes = Net $4713.31 FICA $377.80 Income Tax $914.03 Medicare $88.36]
                        reduced (doc. 1833)
  48       08/28/13 510 Wishlee Ringang                               1,716.00        1,327.33      1,327.33            0.00         0.00
                        718 1/2 N. Congress St.                                           *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1716.00 Less Taxes = Net $1327.33 FICA $106.39 Income Tax $257.40 Medicare $24.88]
                        (doc. 1840)




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  50       09/03/13 510 Rayanda Miyuki                                1,456.00        1,126.22      1,126.22           0.00          0.00
                        718 1/2 N. Congress St.                                           *
                        Aberdeen, SD 57401-3128
                        <5300-00 Wages>
                        [Gross Wage $1456.00 Less Taxes = Net $1126.22 FICA $90.27 Income Tax $218.40 Medicare $21.11]
                        (doc. 1840)
  51       09/03/13 510 Gary Renguul                                  1,612.00        1,246.89      1,246.89           0.00          0.00
                        718 1/2 N. Congress St.                                           *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1612.00 Less Taxes = Net $1246.89 FICA $99.94 Income Tax $241.80 Medicare $23.37]
                        (doc. 1840)
  52       09/03/13 510 Billy Ngirchoit                               1,716.00        1,327.33      1,327.33            0.00         0.00
                        208 8th Ave SE                                                    *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1716.00 Less Taxes = Net $1327.33 FICA $106.39 Income Tax $257.40 Medicare $24.88]
                        (doc. 1840)
  53       09/03/13 510 Free Ngirchomlei                              1,508.00        1,166.43      1,166.43           0.00          0.00
                        208 8th Ave. SE                                                   *
                        Aberdeen, SD 57401-6126
                        <5300-00 Wages>
                        [Gross Wage $1508.00 Less Taxes = Net $1166.43 FICA $93.50 Income Tax $226.20 Medicare $21.87]
                        (doc. 1840)
  54       09/03/13 510 Teddy Nobuo                                   1,444.50        1,117.31      1,117.31           0.00          0.00
                        208 8th Ave. SE                                                   *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1444.50 Less Taxes = Net $1117.31 FICA $89.56 Income Tax $216.68 Medicare $20.95]
                        (doc. 1840)
  55       09/04/13 510 Robert Geist                                   1,085.50        839.63         839.63            0.00         0.00
                        38536 129th St.                                                  *
                        Aberdeen, SD 57401-8302
                        <5300-00 Wages>
                        [Gross Wage $1085.50 Less Taxes = Net $839.63 FICA $67.30 Income Tax $162.83 Medicare $15.74]
                        (doc. 1840)
  57       09/09/13 510 Adolfo Garcia                                 2,388.67        1,847.63      1,847.63            0.00         0.00
                        619 S. Main Street #2                                             *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $2388.67 Less Taxes = Net $1847.63 FICA $148.10 Income Tax $358.30 Medicare $34.64]
                        reduced (doc. 1826)
  58       09/09/13 510 Steven R. Ballinger                           8,916.15        6,896.65      6,896.65           0.00          0.00
                        421 9th Ave. SE
                        Aberdeen, SD 57401-6142
                        <5300-00 Wages>
                        [Gross Wage $8916.15 Less Taxes = Net $6896.65 FICA $552.80 Income Tax $1337.42 Medicare $129.28]




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  61       09/10/13 510 Kevin Herren                                  2,160.00        1,670.76      1,670.76            0.00         0.00
                        39364 125th St.                                                   *
                        Columbia, SD 57433-5203
                        <5300-00 Wages>
                        [Gross Wage $2160.00 Less Taxes = Net $1670.76 FICA $133.92 Income Tax $324.00 Medicare $31.32]
                        (doc. 1840)
  62P      09/10/13 510 Richard D. Jensen                             1,348.10        1,042.75      1,042.75           0.00          0.00
                        108 S. State St.                                                  *
                        Aberdeen, SD 57401-4457
                        <5300-00 Wages>
                        [Gross Wage $1348.10 Less Taxes = Net $1042.75 FICA $83.58 Income Tax $202.22 Medicare $19.55]
                        (doc. 1840)
  66       09/16/13 510 Jay Thomas Rossman                            3,796.56        2,936.64      2,936.64            0.00         0.00
                        13351 377th Ave.                                                  *
                        Aberdeen, SD 57401-8421
                        <5300-00 Wages>
                        [Gross Wage $3796.56 Less Taxes = Net $2936.64 FICA $235.39 Income Tax $569.48 Medicare $55.05]
                        (doc. 1840)
  68       09/17/13 510 Corey Schuh                                   3,884.00        3,004.27      3,004.27            0.00         0.00
                        709 17th Ave. NE                                                  *
                        Aberdeen, SD 57401-1448
                        <5300-00 Wages>
                        [Gross Wage $3884.00 Less Taxes = Net $3004.27 FICA $240.81 Income Tax $582.60 Medicare $56.32]
                        (doc. 1840)
  70       09/23/13 510 Clyde Eisenbeisz                              5,900.00        4,563.65      4,563.65            0.00         0.00
                        Box K                                                             *
                        Bowdle, SD 57428
                        <5300-00 Wages>
                        [Gross Wage $5900.00 Less Taxes = Net $4563.65 FICA $365.80 Income Tax $885.00 Medicare $85.55]
                        (doc. 1840)
  73       09/24/13 510 Dayma Martin Sobera                           1,612.00        1,246.89      1,246.89           0.00          0.00
                        3775 Hawaii Avenue
                        Las Vegas, NV 89104
                        <5300-00 Wages>
                        [Gross Wage $1612.00 Less Taxes = Net $1246.89 FICA $99.94 Income Tax $241.80 Medicare $23.37]
  74       09/24/13 510 Michel Perdomo Carballo                       1,508.00        1,166.43      1,166.43           0.00          0.00
                        1870 52nd St. E Apt 216
                        Inner Grove Heights, MN 55077-1655
                        <5300-00 Wages>
                        [Gross Wage $1508.00 Less Taxes = Net $1166.43 FICA $93.50 Income Tax $226.20 Medicare $21.87]
  76       10/01/13 510 Amandon Wilhelm                              10,300.00        7,967.05      7,967.05          0.00           0.00
                        P.O. Box 346                                                      *
                        Redfield, SD 57469-0346
                        <5300-00 Wages>
                        [Gross Wage $10300.00 Less Taxes = Net $7967.05 FICA $638.60 Income Tax $1545.00 Medicare $149.35]
                        (doc. 1840)




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  77       10/01/13 510 Christian Arnao                               1,452.50        1,123.50      1,123.50           0.00          0.00
                        523 N. Arch St.                                                   *
                        Apt. 2
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1452.50 Less Taxes = Net $1123.50 FICA $90.06 Income Tax $217.88 Medicare $21.06]
                        (doc. 1840)
  80       10/07/13 510 Matthew Nygaard                                 983.16         760.47         760.47            0.00         0.00
                        P.O. Box 374                                                     *
                        Redfield, SD 57469
                        <5300-00 Wages>
                        [Gross Wage $983.16 Less Taxes = Net $760.47 FICA $60.96 Income Tax $147.47 Medicare $14.26]
                        reduced (doc. 1831)
  81       10/08/13 510 Allan M. Brandner                             4,718.44        3,649.71      3,649.71            0.00         0.00
                        c/o Trevor Brandner                                               *
                        745 31st Ave E, Apt 401
                        West Fargo, ND 58078
                        <5300-00 Wages>
                        [Gross Wage $4718.44 Less Taxes = Net $3649.71 FICA $292.54 Income Tax $707.77 Medicare $68.42]
                        reduced (doc. 1792)
  83       10/08/13 510 Clark White                                   4,311.00        3,334.56      3,334.56            0.00         0.00
                        915 S. 3rd St.                                                    *
                        P.O. Box 901
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $4311.00 Less Taxes = Net $3334.56 FICA $267.28 Income Tax $646.65 Medicare $62.51]
                        (doc. 1840)
  86       10/16/13 510 Alan D. Bell                                  4,600.00        3,558.10      3,558.10            0.00         0.00
                        1004 N. Main St.                                                  *
                        Groton, SD 57445-2146
                        <5300-00 Wages>
                        [Gross Wage $4600.00 Less Taxes = Net $3558.10 FICA $285.20 Income Tax $690.00 Medicare $66.70]
                        (doc. 1840)
  92       10/18/13 510 Hieu Pham                                     3,701.91        2,863.42      2,863.42            0.00         0.00
                        1323 S. Lincoln Street                                            *
                        Aberdeen, SD 57401-7150
                        <5300-00 Wages>
                        [Gross Wage $3701.91 Less Taxes = Net $2863.42 FICA $229.52 Income Tax $555.29 Medicare $53.68]
                        (doc. 1840)
  93       10/18/13 510 Allen Kolb                                    5,123.85        3,963.29      3,963.29            0.00         0.00
                        921 S. Penn St.                                                   *
                        Aberdeen, SD 57401-6246
                        <5300-00 Wages>
                        [Gross Wage $5123.85 Less Taxes = Net $3963.29 FICA $317.68 Income Tax $768.58 Medicare $74.30]
                        reduced (doc. 1827)




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  94       10/18/13 510 Chad M. Wagenaar                              2,242.56        1,734.62      1,734.62            0.00         0.00
                        9029 Kemp Road                                                    *
                        Middleton, ID 83644-5248
                        <5300-00 Wages>
                        [Gross Wage $2242.56 Less Taxes = Net $1734.62 FICA $139.04 Income Tax $336.38 Medicare $32.52]
                        (doc. 1840)
  99       10/24/13 510 Suzanne Morrow                                5,000.00        3,867.50      3,867.50            0.00         0.00
                        303 N 4th Street Apt 1                                            *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $5000.00 Less Taxes = Net $3867.50 FICA $310.00 Income Tax $750.00 Medicare $72.50]
                        (doc. 1840)
 100       10/24/13 510 Tanya Lynette Glodrey                              0.00           0.00           0.00           0.00         0.00
                        1417 S. 6th St.                                                   *
                        Aberdeen, SD 57401-6817
                        <5300-00 Wages>
                        [Gross Wage $0.00 Less Taxes = Net $0.00]
                        disallowed (doc. 1839)
 101       10/24/13 510 Alberto Figueras Cabrisas                     1,404.00        1,085.99      1,085.99           0.00          0.00
                        1632 S Doodler Dr. Apt 98
                        Sioux Falls, SD 57103
                        <5300-00 Wages>
                        [Gross Wage $1404.00 Less Taxes = Net $1085.99 FICA $87.05 Income Tax $210.60 Medicare $20.36]
 102       10/24/13 510 Yamile Chavez Garcia                          1,300.00        1,005.55      1,005.55           0.00          0.00
                        9731 SW 48th Street                                               *
                        Miami, FL 33165-6301
                        <5300-00 Wages>
                        [Gross Wage $1300.00 Less Taxes = Net $1005.55 FICA $80.60 Income Tax $195.00 Medicare $18.85]
                        (doc. 1840)
 106       10/28/13 510 Richard Garrett Hulshof                       2,752.00        2,128.68      2,128.68            0.00         0.00
                        13256 Park Road                                                   *
                        Bath, SD 57427
                        <5300-00 Wages>
                        [Gross Wage $2752.00 Less Taxes = Net $2128.68 FICA $170.62 Income Tax $412.80 Medicare $39.90]
                        reduced (doc. 1835)
 108       10/28/13 510 Suzette Wirth                                 1,500.00        1,160.25      1,160.25           0.00          0.00
                        3334 Apple Blossom Way Unit 4                                     *
                        Greeley, CO 69343-1437
                        <5300-00 Wages>
                        [Gross Wage $1500.00 Less Taxes = Net $1160.25 FICA $93.00 Income Tax $225.00 Medicare $21.75]
                        (doc. 1840)
 112       10/30/13 510 Shannon Anderson                              1,561.75        1,208.01      1,208.01           0.00          0.00
                        812 7th Ave. SE                                                   *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1561.75 Less Taxes = Net $1208.01 FICA $96.83 Income Tax $234.26 Medicare $22.65]
                        reduced (doc. 1836)




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 113       10/30/13 510 Malinda Johnson                               1,687.14        1,305.01      1,305.01            0.00         0.00
                        917 N. State St.                                                  *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $1687.14 Less Taxes = Net $1305.01 FICA $104.60 Income Tax $253.07 Medicare $24.46]
                        reduced (doc. 1830)
 119       11/04/13 510 Shaine C. Anderson                            3,721.76        2,878.78      2,878.78            0.00         0.00
                        1516 S. 2nd St.                                                   *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $3721.76 Less Taxes = Net $2878.78 FICA $230.75 Income Tax $558.26 Medicare $53.97]
                        (doc. 1840)
 128       11/14/13 510 William Moon                                  6,161.39        4,765.83      4,765.83            0.00         0.00
                        109 7th Ave. SE                                                   *
                        Aberdeen, SD 57401-2823
                        <5300-00 Wages>
                        [Gross Wage $6161.39 Less Taxes = Net $4765.83 FICA $382.01 Income Tax $924.21 Medicare $89.34]
                        (doc. 1840)
 129       11/15/13 510 Brian Hoff                                    3,808.47        2,945.85      2,945.85            0.00         0.00
                        120 8th Ave. NE                                                   *
                        Aberdeen, SD 57401-2827
                        <5300-00 Wages>
                        [Gross Wage $3808.47 Less Taxes = Net $2945.85 FICA $236.13 Income Tax $571.27 Medicare $55.22]
                        reduced (doc. 1794)
 130       11/22/13 510 Joe Moslander                                 5,480.12        4,238.87      4,238.87            0.00         0.00
                        720 Terrace Lane                                                  *
                        Greencastle, IN 46135
                        <5300-00 Wages>
                        [Gross Wage $5480.12 Less Taxes = Net $4238.87 FICA $339.77 Income Tax $822.02 Medicare $79.46]
                        reduced (doc. 1795)
 134       12/09/13 510 Fabian Angeles                                4,804.61        3,716.36      3,716.36            0.00         0.00
                        1212 Parwood Lane                                                 *
                        Garden City, KS 67846
                        <5300-00 Wages>
                        [Gross Wage $4804.61 Less Taxes = Net $3716.36 FICA $297.89 Income Tax $720.69 Medicare $69.67]
                        reduced (doc. 1791)
 139       03/27/14 510 Guadalupe Ibarra                              2,800.00        2,165.80      2,165.80            0.00         0.00
                        320 3rd St. NE
                        Hector, MN 55342
                        <5300-00 Wages>
                        [Gross Wage $2800.00 Less Taxes = Net $2165.80 FICA $173.60 Income Tax $420.00 Medicare $40.60]
 140       05/12/14 510 Obono Alual                                   1,744.73        1,349.55      1,349.55            0.00         0.00
                        609 W. Russell, #5                                                *
                        Sioux Falls, SD 57104
                        <5300-00 Wages>
                        [Gross Wage $1744.73 Less Taxes = Net $1349.55 FICA $108.17 Income Tax $261.71 Medicare $25.30]
                        reduced (doc. 1790)




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 141       07/30/14 510 Lisa Dauwen                                   2,496.00        1,930.66      1,930.66            0.00          0.00
                        107 Main St.                                                      *
                        Langford, SD 57454-2102
                        <5300-00 Wages>
                        [Gross Wage $2496.00 Less Taxes = Net $1930.66 FICA $154.75 Income Tax $374.40 Medicare $36.19]
                        (doc. 1840)
 145       12/29/15 510 Kerry Christman                                1,781.47      1,377.97            0.00        1,377.97      1,377.97
                        14 1/2 4th Ave. SE #3
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        Gross Wage $1781.47
                        Less Taxes = Net $1377.97 FICA $110.45 Income Tax $267.22 Medicare $25.83
                         objection (doc. 1892) - order (doc 1915)
 150       06/15/16 510 Tanya Lynette Glodrey                         4,154.40        3,213.43      3,213.43            0.00          0.00
                        1417 S 6th Street                                                 *
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        [Gross Wage $4154.40 Less Taxes = Net $3213.43 FICA $257.57 Income Tax $623.16 Medicare $60.24]
                        (doc. 1839)
 159       07/07/16 510 Anthony C. Frenier Sr.                        1,800.00        1,392.30      1,392.30            0.00          0.00
                        44669 128th St.                                                   *
                        Grenville, SD 57239
                        <5300-00 Wages>
                        [Gross Wage $1800.00 Less Taxes = Net $1392.30 FICA $111.60 Income Tax $270.00 Medicare $26.10]
                        (doc. 1840)
 160       07/07/16 510 Darrell Berreth                               4,075.12        3,152.10      3,152.10            0.00          0.00
                        PO Box 72                                                         *
                        Hecla, SD 57446
                        <5300-00 Wages>
                        [Gross Wage $4075.12 Less Taxes = Net $3152.10 FICA $252.66 Income Tax $611.27 Medicare $59.09]
                        reduced (doc. 1828)
 166       07/18/16 510 Kerry Christman                                    0.00           0.00           0.00           0.00          0.00
                        14 1/2 4th Ave. SE #3
                        Aberdeen, SD 57401
                        <5300-00 Wages>
                        disallowed (doc 1915)
 169       07/26/16 510 Jonghwan Kim                                  6,115.38        4,730.25      4,730.25            0.00          0.00
                        3334 Guilford Lane                                                *
                        Plainfield, IN 46168
                        <5300-00 Wages>
                        [Gross Wage $6115.38 Less Taxes = Net $4730.25 FICA $379.15 Income Tax $917.31 Medicare $88.67]
                        (doc. 1829)
 174       08/03/16 510 Rodolfo Almaguer                              1,700.00        1,314.95      1,314.95            0.00          0.00
                        1653 Pebble St.                                                   *
                        Freemont, NE 68025-3148
                        <5300-00 Wages>
                        [Gross Wage $1700.00 Less Taxes = Net $1314.95 FICA $105.40 Income Tax $255.00 Medicare $24.65]
                        (doc. 1832)




 (*) Denotes objection to Amount Filed
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                                   Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                           Claimant /                                  Amount         Amount          Paid          Claim       Proposed
Claim #       Date   Pri   Proof / <Category> / Memo                    Filed         Allowed        to Date       Balance      Payment

 175       08/03/16 510 David A. Palmer                               9,614.92        7,437.13      7,437.13           0.00          0.00
                        6909 Watson Street Suite 303
                        Dublin, OH 43017
                        <5300-00 Wages>
                        [Gross Wage $9614.92 Less Taxes = Net $7437.13 FICA $596.13 Income Tax $1442.24 Medicare $139.42]
                        new address per phone message 10/24/18
 176P      08/08/16 510 Jerry Wemhoff                                12,475.00        9,649.41      9,649.41          0.00           0.00
                        2121 N. Engleman Rd.                                              *
                        Grand Island, NE 68803-2242
                        308-389-3782 phone number 1/14/19
                        <5300-00 Wages>
                        [Gross Wage $12475.00 Less Taxes = Net $9649.41 FICA $773.45 Income Tax $1871.25 Medicare $180.89]
                        (doc. 1840)
 178       08/22/16 510 Oshik Song                                    6,613.97        5,115.90      5,115.90            0.00         0.00
                        15625 Prospect Rd                                                 *
                        Eden Prairie, MN 55347
                        <5300-00 Wages>
                        [Gross Wage $6613.97 Less Taxes = Net $5115.90 FICA $410.07 Income Tax $992.10 Medicare $95.90]
                        (doc. 1840)
 181       09/06/16 510 Jose Thomas Guevara                           1,600.00        1,237.60      1,237.60           0.00          0.00
                        c/o Maria L. Guevara
                        1280 Ardilla Drive
                        Madera, CA 93638
                        <5300-00 Wages>
                        [Gross Wage $1600.00 Less Taxes = Net $1237.60 FICA $99.20 Income Tax $240.00 Medicare $23.20]
 182       09/07/16 510 Mark Alan Wojtaszek                            1,250.00        966.87         966.87            0.00         0.00
                        908 S. Main St. Apt. 6                                           *
                        Aberdeen, SD 57401-6022
                        <5300-00 Wages>
                        [Gross Wage $1250.00 Less Taxes = Net $966.87 FICA $77.50 Income Tax $187.50 Medicare $18.13]
                        (doc. 1840)
 184       09/10/16 510 Maria Angelica Perez Hernandez                1,860.00        1,438.71      1,438.71            0.00         0.00
                        2014 Velliquette Ln                                               *
                        Colorado Springs, CO 80951-3204
                        <5300-00 Wages>
                        [Gross Wage $1860.00 Less Taxes = Net $1438.71 FICA $115.32 Income Tax $279.00 Medicare $26.97]
                        (doc. 1840)
 185       09/10/16 510 Duniesqui Torres Ramirez                      2,100.00        1,624.35      1,624.35            0.00         0.00
                        2550 Prescott Cir E
                        Colorado Springs, CO 80916
                        <5300-00 Wages>
                        [Gross Wage $2100.00 Less Taxes = Net $1624.35 FICA $130.20 Income Tax $315.00 Medicare $30.45]
 186       09/10/16 510 Michel Hernandez Sanchez                      1,860.00        1,438.71      1,438.71            0.00         0.00
                        2014 Velliquette Ln                                               *
                        Colorado Springs, CO 80951-3204
                        <5300-00 Wages>
                        [Gross Wage $1860.00 Less Taxes = Net $1438.71 FICA $115.32 Income Tax $279.00 Medicare $26.97]
                        (doc. 1840)




 (*) Denotes objection to Amount Filed
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                   Amount         Amount          Paid          Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                     Filed         Allowed        to Date       Balance      Payment

 187      09/12/16 510 Efren Gonzalez                                1,980.00        1,531.53      1,531.53            0.00         0.00
                       25 W Melgaard Rd Apt#7
                       Aberdeen, SD 57401
                       <5300-00 Wages>
                       [Gross Wage $1980.00 Less Taxes = Net $1531.53 FICA $122.76 Income Tax $297.00 Medicare $28.71]
 188      09/13/16 510 Jerry Bennett                                 9,660.81       7,472.64          0.00       7,472.64      7,472.64
                       5230 Northrup Ave.
                       St. Louis, MO 63110
                       <5300-00 Wages>
                       Gross Wage $9660.81 Less Taxes = Net $7472.64 FICA $598.97Income Tax $1449.12 Medicare $140.08 objection (doc.
                       1891) - order (1916)
 189P     09/19/16 510 Ernesto Antonio Fuentes Lemus                    14.00          10.83           10.83           0.00         0.00
                       6736 County Rd 2004 #147
                       Portland, TX 78374
                       <5300-00 Wages>
                       [Gross Wage $14.00 Less Taxes = Net $10.83 FICA $0.87 Income Tax $2.10 Medicare $0.20]
 191P     03/11/19 510 Karl J. Wagner                              12,475.00       9,649.41           0.00       9,649.41       9,649.41
                       1150 53rd Ave.
                       Greeley, CO 80634
                       <5300-00 Wages>
                       amended 5/20/19 [Gross Wage $12475.00 Less Taxes = Net $9649.41 FICA $773.45 Income Tax $1871.25 Medicare
                       $180.89]
 192      03/25/19 510 Blair Younker                                 8,717.95        6,743.33         0.00        6,743.33       6,743.33
                       6402 93rd St.
                       Lubbock, TX 79424
                       <5300-00 Wages>
                       [Gross Wage $8717.95 Less Taxes = Net $6743.33 FICA $540.51 Income Tax $1307.70 Medicare $126.41]
 193      03/25/19 510 George Alvarado                               3,403.54        2,632.64          0.00       2,632.64       2,632.64
                       507 S Boyd St
                       Aberdeen, SD 57401
                       <5300-00 Wages>
                       [Gross Wage $3403.54 Less Taxes = Net $2632.64 FICA $211.02 Income Tax $510.53 Medicare $49.35]
 194P     03/29/19 510 Richard D. Jensen                             3,745.44        2,897.10          0.00       2,897.10       2,897.10
                       2014 S. Merton Street
                       Aberdeen, SD 57401
                       <5300-00 Wages>
                       [Gross Wage $3745.44 Less Taxes = Net $2897.10 FICA $232.22 Income Tax $561.81 Medicare $54.31]
 195      04/05/19 510 Mabel L. Muniz Garcia                         1,770.00        1,369.10          0.00       1,369.10       1,369.10
                       1020 N. 2nd St., Apt. #7
                       Aberdeen, SD 57401
                       <5300-00 Wages>
                       [Gross Wage $1770.00 Less Taxes = Net $1369.10 FICA $109.74 Income Tax $265.49 Medicare $25.67]
 196      04/16/19 510 Armeris Rafael Tamayo Pavon                   2,400.00        1,856.40          0.00       1,856.40       1,856.40
                       4404 Canal St., Apt 507
                       Lake Charles, LA 70605
                       <5300-00 Wages>
                       [Gross Wage $2400.00 Less Taxes = Net $1856.40 FICA $148.80 Income Tax $360.00 Medicare $34.80]
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                                 Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                  Amount          Amount          Paid          Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                    Filed          Allowed        to Date       Balance      Payment

 197      05/28/19 510 Rafaela Estrada                                 3,203.08        2,477.58          0.00      2,477.58       2,477.58
                       301 S. 2nd Street Apt 3
                       Watertown, WI 53094
                       <5300-00 Wages>

                         Gross Wage $3203.08 Less Taxes = Net $2477.58 FICA $198.59 Income Tax $480.47 Medicare $46.44
 198      05/28/19 510 Leydis Estrada                                3,095.25        2,394.18          0.00       2,394.18        2,394.18
                       301 S. 2nd Street Apt 3
                       Watertown, WI 53094
                       <5300-00 Wages>
                       [Gross Wage $3095.25 Less Taxes = Net $2394.18 FICA $191.91 Income Tax $464.28 Medicare $44.88]
 199      06/24/19 510 Jesus Meirama Gonzalez                        2,556.26        1,977.27          0.00       1,977.27        1,977.27
                       839 Wheatland Avenue
                       Logansport, IN 46947
                       <5300-00 Wages>
                       [Gross Wage $2556.26 Less Taxes = Net $1977.27 FICA $158.49 Income Tax $383.43 Medicare $37.07]
 201      02/06/20 510 Donald Wagner                                 4,629.92        3,581.24          0.00       3,581.24        3,581.24
                       27 Main Street
                       Mina, SD 57451
                       <5300-00 Wages>
                       [Gross Wage $4629.92 Less Taxes = Net $3581.24 FICA $287.06 Income Tax $694.49 Medicare $67.13]

                Total for Priority 510:   100% Paid                 $285,288.09     $285,288.09   $227,849.37    $57,438.72     $57,438.72

          08/26/13 570 United States Treasury                          0.00           12,587.59      1,264.55     11,323.04           0.01
                       FUTA
                       <5800-00 Claims of Governmental Units>
                       [Employer FUTA Distribution:
                           Claim     24 $186.92 Amy Moore Rissmann
                           Claim     31 $196.15 Chelsie Anderson
                           Claim     36 $75.02 Maite Vila
                           Claim     37 $121.80 Sancti Reyes
                           Claim     38 $398.18 Jeremy E. Randolph
                           Claim     39 $110.00 Maria D. Carrera
                           Claim     40 $226.66 Soila Martinez
                           Claim     41 $111.11 Ramiro Martinez-Hernandez
                           Claim     47 $365.61 Rene Ferrer Almarez
                           Claim     48 $102.96 Wishlee Ringang
                           Claim     50 $87.36 Rayanda Miyuki
                           Claim     51 $96.72 Gary Renguul
                           Claim     52 $102.96 Billy Ngirchoit
                           Claim     53 $90.48 Free Ngirchomlei
                           Claim     54 $86.67 Teddy Nobuo
                           Claim     55 $65.13 Robert Geist
                           Claim     57 $143.32 Adolfo Garcia
                           Claim     58 $420.00 Steven R. Ballinger
                           Claim     61 $129.60 Kevin Herren
                           Claim     62P $80.89 Richard D. Jensen
                           Claim     66 $227.79 Jay Thomas Rossman
                           Claim     68 $233.04 Corey Schuh
                           Claim     70 $354.00 Clyde Eisenbeisz
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                        Claimant /                                    Amount      Amount          Paid      Claim     Proposed
Claim #    Date   Pri   Proof / <Category> / Memo                      Filed      Allowed        to Date   Balance    Payment
                            Claim    73   $96.72 Dayma Martin Sobera
                            Claim    74   $90.48 Michel Perdomo Carballo
                            Claim   76    $420.00 Amandon Wilhelm
                            Claim    77   $87.15 Christian Arnao
                            Claim    80   $58.99 Matthew Nygaard
                            Claim    81   $283.11 Allan M. Brandner
                            Claim   83    $258.66 Clark White
                            Claim    92   $222.11 Hieu Pham
                            Claim    93   $307.43 Allen Kolb
                            Claim   94    $134.55 Chad M. Wagenaar
                            Claim    99   $300.00 Suzanne Morrow
                            Claim   100    $0.00 Tanya Lynette Glodrey
                            Claim   101    $84.24 Alberto Figueras Cabrisas
                            Claim   102 $78.00 Yamile Chavez Garcia
                            Claim   108 $90.00 Suzette Wirth
                            Claim   112 $93.71 Shannon Anderson
                            Claim   113 $101.23 Malinda Johnson
                            Claim   119 $223.31 Shaine C. Anderson
                            Claim   128 $369.68 William Moon
                            Claim   129 $228.51 Brian Hoff
                            Claim   130 $328.81 Joe Moslander
                            Claim   134 $288.28 Fabian Angeles
                            Claim   139 $168.00 Guadalupe Ibarra
                            Claim   140 $104.68 Obono Alual
                            Claim   141 $149.76 Lisa Dauwen
                            Claim    34P-2 $420.00 Gary Lorensen
                            Claim    86 $276.00 Alan D. Bell
                            Claim   106 $165.12 Richard Garrett Hulshof
                            Claim   150 $249.26 Tanya Lynette Glodrey
                            Claim   159 $108.00 Anthony C. Frenier Sr.
                            Claim   160 $244.51 Darrell Berreth
                            Claim   169 $366.92 Jonghwan Kim
                            Claim   174 $102.00 Rodolfo Almaguer
                            Claim   175 $420.00 David A. Palmer
                            Claim   176P $420.00 Jerry Wemhoff
                            Claim   178 $396.84 Oshik Song
                            Claim   181 $96.00 Jose Thomas Guevara
                            Claim   182 $75.00 Mark Alan Wojtaszek
                            Claim   184 $111.60 Maria Angelica Perez Hernandez
                            Claim   185 $126.00 Duniesqui Torres Ramirez
                            Claim   186 $111.60 Michel Hernandez Sanchez
                            Claim   187 $118.80 Efren Gonzalez
                            Claim   189P $0.84 Ernesto Antonio Fuentes Lemus
                            Claim    44 $199.32 Robb Krokel
                        ]
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                    Amount      Amount          Paid      Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                      Filed      Allowed        to Date   Balance      Payment

          08/26/13 570 United States Treasury                          0.00         3,303.85       331.90    2,971.95         0.00
                       Medicare
                       <5800-00 Claims of Governmental Units>
                       [Employer Medicare Distribution:
                           Claim     24 $45.17 Amy Moore Rissmann
                           Claim     31 $47.40 Chelsie Anderson
                           Claim     36 $18.13 Maite Vila
                           Claim     37 $29.44 Sancti Reyes
                           Claim     38 $96.23 Jeremy E. Randolph
                           Claim     39 $26.58 Maria D. Carrera
                           Claim     40 $54.78 Soila Martinez
                           Claim     41 $26.85 Ramiro Martinez-Hernandez
                           Claim     47 $88.36 Rene Ferrer Almarez
                           Claim     48 $24.88 Wishlee Ringang
                           Claim     50 $21.11 Rayanda Miyuki
                           Claim     51 $23.37 Gary Renguul
                           Claim     52 $24.88 Billy Ngirchoit
                            Claim    53    $21.87 Free Ngirchomlei
                            Claim    54    $20.95 Teddy Nobuo
                            Claim    55    $15.74 Robert Geist
                            Claim    57    $34.64 Adolfo Garcia
                            Claim    58    $129.28 Steven R. Ballinger
                            Claim    61    $31.32 Kevin Herren
                            Claim    62P    $19.55 Richard D. Jensen
                            Claim    66    $55.05 Jay Thomas Rossman
                            Claim    68    $56.32 Corey Schuh
                            Claim    70    $85.55 Clyde Eisenbeisz
                            Claim    73    $23.37 Dayma Martin Sobera
                            Claim    74    $21.87 Michel Perdomo Carballo
                            Claim    76    $149.35 Amandon Wilhelm
                            Claim    77    $21.06 Christian Arnao
                            Claim    80    $14.26 Matthew Nygaard
                            Claim    81    $68.42 Allan M. Brandner
                            Claim    83    $62.51 Clark White
                            Claim    92    $53.68 Hieu Pham
                            Claim    93    $74.30 Allen Kolb
                            Claim   94     $32.52 Chad M. Wagenaar
                            Claim    99    $72.50 Suzanne Morrow
                            Claim   100     $0.00 Tanya Lynette Glodrey
                            Claim   101     $20.36 Alberto Figueras Cabrisas
                            Claim   102     $18.85 Yamile Chavez Garcia
                            Claim   108     $21.75 Suzette Wirth
                            Claim   112     $22.65 Shannon Anderson
                            Claim   113     $24.46 Malinda Johnson
                            Claim   119     $53.97 Shaine C. Anderson
                            Claim   128     $89.34 William Moon
                            Claim   129     $55.22 Brian Hoff
                            Claim   130     $79.46 Joe Moslander
                            Claim   134     $69.67 Fabian Angeles
                            Claim   139     $40.60 Guadalupe Ibarra
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                                Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                  Amount        Amount         Paid       Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                    Filed        Allowed       to Date    Balance      Payment
                             Claim   140 $25.30 Obono Alual
                             Claim   141 $36.19 Lisa Dauwen
                             Claim    34P-2 $170.38 Gary Lorensen
                             Claim    86 $66.70 Alan D. Bell
                             Claim   106 $39.90 Richard Garrett Hulshof
                             Claim   150 $60.24 Tanya Lynette Glodrey
                             Claim   159 $26.10 Anthony C. Frenier Sr.
                             Claim   160 $59.09 Darrell Berreth
                             Claim   169 $88.67 Jonghwan Kim
                             Claim   174 $24.65 Rodolfo Almaguer
                             Claim   175 $139.42 David A. Palmer
                             Claim   176P $180.89 Jerry Wemhoff
                             Claim   178 $95.90 Oshik Song
                             Claim   181 $23.20   Jose Thomas Guevara
                             Claim   182 $18.13   Mark Alan Wojtaszek
                             Claim   184 $26.97   Maria Angelica Perez Hernandez
                             Claim   185 $30.45   Duniesqui Torres Ramirez
                             Claim   186 $26.97   Michel Hernandez Sanchez
                             Claim   187 $28.71   Efren Gonzalez
                             Claim   189P $0.20   Ernesto Antonio Fuentes Lemus
                             Claim    44 $48.17   Robb Krokel
                         ]
          08/26/13 570 United States Treasury                          0.00        14,126.67     1,419.17   12,707.50         0.00
                       FICA
                       <5800-00 Claims of Governmental Units>
                       [Employer FICA Distribution:
                           Claim     24 $193.15 Amy Moore Rissmann
                           Claim     31 $202.69 Chelsie Anderson
                           Claim     36 $77.52 Maite Vila
                           Claim     37 $125.86 Sancti Reyes
                           Claim     38 $411.45 Jeremy E. Randolph
                           Claim     39 $113.67 Maria D. Carrera
                           Claim     40 $234.22 Soila Martinez
                           Claim     41 $114.81 Ramiro Martinez-Hernandez
                           Claim     47 $377.80 Rene Ferrer Almarez
                           Claim     48 $106.39 Wishlee Ringang
                           Claim     50 $90.27 Rayanda Miyuki
                           Claim     51 $99.94 Gary Renguul
                           Claim     52 $106.39 Billy Ngirchoit
                           Claim     53 $93.50 Free Ngirchomlei
                           Claim     54 $89.56 Teddy Nobuo
                           Claim     55 $67.30 Robert Geist
                           Claim     57 $148.10 Adolfo Garcia
                           Claim     58 $552.80 Steven R. Ballinger
                           Claim     61 $133.92 Kevin Herren
                           Claim     62P $83.58 Richard D. Jensen
                           Claim     66 $235.39 Jay Thomas Rossman
                           Claim     68 $240.81 Corey Schuh
                           Claim     70 $365.80 Clyde Eisenbeisz
                           Claim     73 $99.94 Dayma Martin Sobera
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                        Claimant /                                    Amount      Amount          Paid      Claim     Proposed
Claim #    Date   Pri   Proof / <Category> / Memo                      Filed      Allowed        to Date   Balance    Payment
                            Claim    74   $93.50 Michel Perdomo Carballo
                            Claim   76    $638.60 Amandon Wilhelm
                            Claim    77   $90.06 Christian Arnao
                            Claim    80   $60.96 Matthew Nygaard
                            Claim    81   $292.54 Allan M. Brandner
                            Claim   83    $267.28 Clark White
                            Claim    92   $229.52 Hieu Pham
                            Claim    93   $317.68 Allen Kolb
                            Claim   94    $139.04 Chad M. Wagenaar
                            Claim    99   $310.00 Suzanne Morrow
                            Claim   100    $0.00 Tanya Lynette Glodrey
                            Claim   101    $87.05 Alberto Figueras Cabrisas
                            Claim   102    $80.60 Yamile Chavez Garcia
                            Claim   108 $93.00 Suzette Wirth
                            Claim   112 $96.83 Shannon Anderson
                            Claim   113 $104.60 Malinda Johnson
                            Claim   119 $230.75 Shaine C. Anderson
                            Claim   128 $382.01 William Moon
                            Claim   129 $236.13 Brian Hoff
                            Claim   130 $339.77 Joe Moslander
                            Claim   134 $297.89 Fabian Angeles
                            Claim   139 $173.60 Guadalupe Ibarra
                            Claim   140 $108.17 Obono Alual
                            Claim   141 $154.75 Lisa Dauwen
                            Claim    34P-2 $728.50 Gary Lorensen
                            Claim    86 $285.20 Alan D. Bell
                            Claim   106 $170.62 Richard Garrett Hulshof
                            Claim   150 $257.57 Tanya Lynette Glodrey
                            Claim   159 $111.60 Anthony C. Frenier Sr.
                            Claim   160 $252.66 Darrell Berreth
                            Claim   169 $379.15 Jonghwan Kim
                            Claim   174 $105.40 Rodolfo Almaguer
                            Claim   175 $596.13 David A. Palmer
                            Claim   176P $773.45 Jerry Wemhoff
                            Claim   178 $410.07 Oshik Song
                            Claim   181 $99.20 Jose Thomas Guevara
                            Claim   182 $77.50 Mark Alan Wojtaszek
                            Claim   184 $115.32 Maria Angelica Perez Hernandez
                            Claim   185 $130.20 Duniesqui Torres Ramirez
                            Claim   186 $115.32 Michel Hernandez Sanchez
                            Claim   187 $122.76 Efren Gonzalez
                            Claim   189P $0.87 Ernesto Antonio Fuentes Lemus
                            Claim    44 $205.96 Robb Krokel
                        ]
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                                Amount         Amount          Paid      Claim       Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                  Filed         Allowed        to Date   Balance      Payment

          08/26/13 570 United States Treasury                       3,561.21       3,561.21         0.00    3,561.21       357.76
                       FICA
                       <5800-00 Claims of Governmental Units>
                       [Employer FICA Distribution:
                           Claim     145 $110.45    Kerry Christman
                           Claim     188 $598.97 Jerry Bennett
                           Claim     191 $773.45 Karl J. Wagner
                           Claim     192 $540.51 Blair Younker
                           Claim     193 $211.02 George Alvarado
                           Claim     194 $232.22 Richard D. Jensen
                           Claim     195 $109.74 Mabel L. Muniz Garcia
                           Claim     196 $148.80 Armeris Rafael Tamayo Pavon
                           Claim     197 $198.59 Rafaela Estrada
                           Claim     198 $191.91 Ledydis Estrada
                           Claim     199 $158.49 Jesus Meirama Ganzalez
                           Claim     201 $287.02 Donald Wagner
                           ]
          08/26/13 570 United States Treasury                         832.86        832.86          0.00     832.86         83.67
                       Medicare
                       <5800-00 Claims of Governmental Units>
                       [Employer Medicare Distribution:
                           Claim     145 $25.83      Kerry Christman
                           Claim     188 $140.08 Jerry Bennett
                           Claim     191 $180.89 Karl J. Wagner
                           Claim     192 $126.41 Blair Younker
                           Claim     193 $49.35 George Alvarado
                           Claim     194 $54.31 Richard D. Jensen
                           Claim     195 $25.67 Mabel L. Muniz Garcia
                           Claim     196 $34.80 Armeris Rafael Tamayo Pavon
                           Claim     197 $46.44 Rafaela Estrada
                           Claim     198 $44.88 Ledydis Estrada
                           Claim     199 $37.07 Jesus Meirama Ganzalez
                           Claim     201 $67.13 Donald Wagner
                       ]
          08/26/13 570 United States Treasury                        3,266.39      3,266.39         0.00    3,266.39       328.14
                       FUTA
                       <5800-00 Claims of Governmental Units>
                       [Employer FUTA Distribution:
                           Claim     145 $106.89     Kerry Christman
                           Claim     188 $579.65 Jerry Bennett
                           Claim     191 $748.50 Karl J. Wagner
                           Claim     192 $523.08 Blair Younker
                           Claim     193 $204.21 George Alvarado
                           Claim     194 $224.73 Richard D. Jensen
                           Claim     195 $106.20 Mabel L. Muniz Garcia
                           Claim     196 $144.00 Armeris Rafael Tamayo Pavon
                           Claim     197 $192.18 Rafaela Estrada
                           Claim     198 $185.72 Ledydis Estrada
                           Claim     199 $153.89 Jesus Meirama Ganzalez
                           Claim     201 $97.80     Donald Wagner
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                         Claimant /                                  Amount           Amount          Paid           Claim        Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                    Filed           Allowed        to Date        Balance       Payment
                         ]
  6P-5    08/02/13 570 Internal Revenue Service                     929,708.81       929,708.81      93,398.58     836,310.23            0.00
                       PO Box 7346
                       Philadelphia, PA 19101-7346
                       <5800-00 Claims of Governmental Units>
  33      08/19/13 570 South Dakota Department of Labor &            30,635.86        30,635.86       3,077.68      27,558.18            0.00
                       Regulation
                       UI Tax Division
                       PO Box 4730
                       Aberdeen, SD 57402-4730
                       <5800-00 Claims of Governmental Units>
  75 -2   09/25/13 570 South Dakota Department of Revenue            22,395.73        22,395.73       2,249.88      20,145.85            0.00
                       Anderson Building
                       445 East Capitol Avenue
                       Pierre, SD 57501-3185
                       <5800-00 Claims of Governmental Units>
 109P-3   10/28/13 570 South Dakota Department of Revenue           848,891.07       848,891.07      85,279.63     763,611.44            0.00
                       Anderson Building
                       445 East Capitol Avenue
                       Pierre, SD 57501-3185
                       <5800-00 Claims of Governmental Units>

                Total for Priority 570:   10.04600% Paid          $1,839,291.93    $1,869,310.04   $187,021.39   $1,682,288.65       $769.58

                                    Total for Priority Claims:    $2,327,552.02    $2,154,598.13   $414,870.76   $1,739,727.37     $58,208.30


Unsecured Claims:

  1       07/26/13 610 Office Depot                                  19,152.62        19,152.62           0.00      19,152.62            0.00
                       6600 N. Military Trail - S413G
                       Boca Raton, FL 33496
                       <7100-00 General Unsecured § 726(a)(2)>
  2       07/26/13 610 Toyota Motor Credit Corporation                 3,520.63         3,520.63          0.00        3,520.63           0.00
                       PO Box 8026
                       Cedar Rapids, IA 52408-8026
                       <7100-00 General Unsecured § 726(a)(2)>
  3       07/29/13 610 Unisource Worldwide                           20,155.28        20,155.28           0.00      20,155.28            0.00
                       850 N. Arlington Hts Rd.
                       Itasca, IL 60143
                       <7100-00 General Unsecured § 726(a)(2)>
  4       08/01/13 610 Summit Group Software, Inc.                     8,478.86         8,478.86          0.00        8,478.86           0.00
                       1405 Prairie Parkway, Suite A
                       West Fargo, ND 58078
                       <7100-00 General Unsecured § 726(a)(2)>
  5       08/02/13 610 South Dakota Development                    1,200,000.00     1,200,000.00          0.00    1,200,000.00           0.00
                       Corporation
                       Timothy M. Engel,May, Adam, Gerdes &
                       Thompson LLP,PO Box 160
                       Pierre, SD 57501
                       <7100-00 General Unsecured § 726(a)(2)>
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                             Claimant /                                                Amount              Amount         Paid      Claim        Proposed
Claim #      Date     Pri    Proof / <Category> / Memo                                  Filed              Allowed       to Date   Balance       Payment

  6U-5    08/02/13 610 Internal Revenue Service                                         19,872.80          19,872.80        0.00    19,872.80         0.00
                       PO Box 7346
                       Philadelphia, PA 19101-7346
                       <7100-00 General Unsecured § 726(a)(2)>
  8       08/06/13 610 CIT Finance, LLC                                                121,597.39         121,597.39        0.00   121,597.39         0.00
                       Bankruptcy Processing Solutions, Inc.
                       P.O. Box 593007
                       San Antonio, TX 78259
                       <7100-00 General Unsecured § 726(a)(2)>
  9       08/06/13 610 CIT Finance, LLC                                                 32,049.59          32,049.59        0.00    32,049.59         0.00
                       Bankruptcy Processing Solutions, Inc.
                       P.O. Box 593007
                       San Antonio, TX 78259
                       <7100-00 General Unsecured § 726(a)(2)>
  10      08/06/13 610 CIT Finance, LLC                                                 27,861.65          27,861.65        0.00    27,861.65         0.00
                       Bankruptcy Processing Solutions, Inc.
                       P.O. Box 593007
                       San Antonio, TX 78259
                       <7100-00 General Unsecured § 726(a)(2)>
  11      08/06/13 610 DXP Enterprise                                                  528,346.11         528,346.11        0.00   528,346.11         0.00
                       7272 Pinemont
                       Houston, TX 77040
                       <7100-00 General Unsecured § 726(a)(2)>
  12      08/06/13 610 Blesi-Evans Company                                               1,077.66            1,077.66       0.00     1,077.66         0.00
                       2533 24th Avenue S.
                       Minneapolis, MN 55406-1290
                       <7100-00 General Unsecured § 726(a)(2)>
  13      08/06/13 610 James Skrydlak                                                    1,230.00            1,230.00       0.00     1,230.00         0.00
                       1527 Pleasant Drive
                       Pella, IA 50219-1036
                       <7100-00 General Unsecured § 726(a)(2)>
  14      08/06/13 610 Midlands Newspapers, Inc                                          6,280.05            6,280.05       0.00     6,280.05         0.00
                       d/b/a The Grand Island Independent,J.
                       Scott Searl,1314 Douglas Street, Suite 1
                       Omaha, NE 68102-1848
                       <7100-00 General Unsecured § 726(a)(2)>
  15      08/06/13 610 W W Grainger Inc                                                  5,786.54            5,786.54       0.00     5,786.54         0.00
                       Attn: Special Collections Dept
                       MES 178881799233,7300 N. Melvina
                       Niles, IL 60714
                       <7100-00 General Unsecured § 726(a)(2)>
  16 -3   08/06/13 610 PB Metal Fab LLC                                                    22,855.30         22,855.30      0.00    22,855.30         0.00
                       Jeffrey T. Sveen
                       Siegel, Barnett & Schutz, LLP,PO Box 490
                       Aberdeen, SD 57402-0490
                       <7100-00 General Unsecured § 726(a)(2)>
                       06/24/2019 Amendment 16-3 imported by KATHY; original claim didn't exist
                       --------------------------------------------------------------------------------* * *
                       withdrawn (doc. 1526)
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  17       08/06/13 610 Jorge Alvarado                            2,730,000.00     1,000,000.00       0.00   1,000,000.00         0.00
                         507 S Boyd Street                                                *
                        Aberdeen, SD 57401
                        phone number 702-528-5677
                        <7100-00 General Unsecured § 726(a)(2)>
                        (doc. 1798)
  18       08/07/13 610 Diesel Machinery, Inc.                       1,153.03         1,153.03        0.00       1,153.03         0.00
                        c/o Glenn Boomsma
                        606 East Tan Tara Circle
                        Sioux Falls, SD 57108
                        <7100-00 General Unsecured § 726(a)(2)>
  20       08/09/13 610 Packaging Corporation of America            42,973.66        42,973.66        0.00     42,973.66          0.00
                        Attn: Karen McGill-Konezney
                        800 East Diehl Road, Suite 160
                        Naperville, IL 60563
                        <7100-00 General Unsecured § 726(a)(2)>
  21       08/09/13 610 Economical Design Solutions                 11,365.46        11,365.46        0.00     11,365.46          0.00
                        922 Edgewood Blvd
                        Papillion, NE 68046
                        <7100-00 General Unsecured § 726(a)(2)>
  23       08/12/13 610 McMaster-Carr Supply Company                 1,869.55         1,869.55        0.00       1,869.55         0.00
                        PO Box 4355
                        Chicago, IL 60680
                        <7100-00 General Unsecured § 726(a)(2)>
  25       08/13/13 610 Tri State Water                              3,044.88         3,044.88        0.00       3,044.88         0.00
                        1525 SD HWY 10
                        Sisseton, SD 57262-2514
                        <7100-00 General Unsecured § 726(a)(2)>
  26       08/15/13 610 Continental Carbonic Products, Inc.          6,081.80         6,081.80        0.00       6,081.80         0.00
                        3985 E. Harrison
                        Decatur, IL 62526
                        <7100-00 General Unsecured § 726(a)(2)>
  27       08/19/13 610 United Rentals (North America), Inc.        49,365.47        49,365.47        0.00     49,365.47          0.00
                        3200 Harbor Ln. N.
                        Minneapolis, MN 55447
                        <7100-00 General Unsecured § 726(a)(2)>
  30       08/19/13 610 Gary Lorensen                              111,538.35       111,538.35        0.00    111,538.35          0.00
                        21016 Hwy 12
                        Westfield, IA 51062-8636
                        <7100-00 General Unsecured § 726(a)(2)>
  32       08/19/13 610 Minnesota Valley Testing Laboratories,       9,691.00         9,691.00        0.00       9,691.00         0.00
                        Inc.
                        PO Box 249
                        New Ulm, MN 56073
                        <7100-00 General Unsecured § 726(a)(2)>




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  34U-2    08/19/13 610 Gary Lorensen                                9,341.61         9,341.61        0.00       9,341.61         0.00
                        21016 Hwy 12                                                      *
                        Westfield, IA 51062-8636
                        <7100-00 General Unsecured § 726(a)(2)>
  35       08/19/13 610 OfficeMax North America                     43,845.05        43,845.05        0.00     43,845.05          0.00
                        800 W Bryn Mawr
                        Itasca, IL 60143
                        <7100-00 General Unsecured § 726(a)(2)>
  42 -2    08/20/13 610 City of Aberdeen, South Dakota             250,269.07       250,269.07        0.00    250,269.07          0.00
                        123 S. Lincoln St
                        Aberdeen, SD 57401
                        <7100-00 General Unsecured § 726(a)(2)>
  43       08/22/13 610 Grote Roofing, Inc.                         16,685.38        16,685.38        0.00     16,685.38          0.00
                        Kimberly A. Dorsett
                        Richardson Law Firm,PO Box 1030
                        Aberdeen, SD 57402-1030
                        <7100-00 General Unsecured § 726(a)(2)>
  45       08/26/13 610 Dakota Dust-Tex, Inc.                        4,189.80         4,189.80        0.00       4,189.80         0.00
                        3804 Saratoga Ave
                        Bismarck, ND 58503-0785
                        <7100-00 General Unsecured § 726(a)(2)>
  46       08/27/13 610 Prime Natural Resources, Inc.               16,550.86        16,550.86        0.00     16,550.86          0.00
                        Gustavo Torres
                        500 Dallas St., Suite 600
                        Houston, TX 77002
                        <7100-00 General Unsecured § 726(a)(2)>
  49       08/28/13 610 Diken International                         27,330.74        27,330.74        0.00     27,330.74          0.00
                        Attn: Stephanie Schwartz
                        2940 Wesley Way
                        Richland Hills, TX 76118
                        <7100-00 General Unsecured § 726(a)(2)>
  56       09/04/13 610 Motion Industries                            3,926.62         3,926.62        0.00       3,926.62         0.00
                        PO Box 1477
                        Birmingham, AL 35201-1477
                        <7100-00 General Unsecured § 726(a)(2)>
  59       09/09/13 610 Polarway Investment Limited                500,000.00       500,000.00        0.00    500,000.00          0.00
                        Breit Law Office, P.C.,c/o Glenn J.
                        Boomsma,606 E. Tan Tara Circle
                        Sioux Falls, SD 57108
                        <7100-00 General Unsecured § 726(a)(2)>
  60       09/09/13 610 Hanul Law Firm                            1,170,025.00     1,170,025.00       0.00   1,170,025.00         0.00
                        Breit Law Office P.C.,c/o Glenn J.
                        Boomsma,606 E. Tan Tara Circle
                        Sioux Falls, SD 57108
                        <7100-00 General Unsecured § 726(a)(2)>




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  62U      09/10/13 610 Richard D. Jensen                          3,065.57        3,065.57        0.00    3,065.57         0.00
                        108 S. State St.                                              *
                        Aberdeen, SD 57401-4457
                        <7100-00 General Unsecured § 726(a)(2)>
  63       09/10/13 610 Firestop Solutions, LLC                   10,619.07       10,619.07        0.00   10,619.07         0.00
                        508 N Garfield Circle
                        Sioux Falls, SD 57104
                        <7100-00 General Unsecured § 726(a)(2)>
  64       09/11/13 610 Siemens Industry, Inc.                    13,135.52       13,135.52        0.00   13,135.52         0.00
                        Leigh-Ann Best
                        100 Technology Drive
                        Alpharetta, GA 30005
                        <7100-00 General Unsecured § 726(a)(2)>
  67       09/16/13 610 Jackson Lewis, LLP                         5,216.74        5,216.74        0.00    5,216.74         0.00
                        One North Broadway, 14th Floor
                        White Plains, NY 10601
                        <7100-00 General Unsecured § 726(a)(2)>
  71       09/23/13 610 Hartfiel Automation Inc.                    256.34          256.34         0.00     256.34          0.00
                        DBA Hartfiel Automation,Credit
                        Dept.,6533 Flying Cloud Dr, Ste 100
                        Eden Prairie, MN 55344
                        <7100-00 General Unsecured § 726(a)(2)>
  72       09/23/13 610 Cyber Metrics Corporation                  4,995.00        4,995.00        0.00    4,995.00         0.00
                        1523 West Whispering Wind Drive,
                        Suite 100
                        Phoenix, AZ 85085
                        <7100-00 General Unsecured § 726(a)(2)>
  78       10/07/13 610 RB Consulting Inc.                        55,250.00       55,250.00        0.00   55,250.00         0.00
                        PO Box 1751
                        Iowa City, IA 52244
                        <7100-00 General Unsecured § 726(a)(2)>
  79 -2    10/07/13 610 Cattlemen's Beef Promotion and             3,002.29        3,002.29        0.00    3,002.29         0.00
                        Research Board
                        Attn: Chad Smith
                        9000 E. Nichols Ave., Suite 215
                        Centennial, CO 80112
                        <7100-00 General Unsecured § 726(a)(2)>
  82       10/08/13 610 Intralinks, Inc.                           3,744.00        3,744.00        0.00    3,744.00         0.00
                        150 East 42nd St 8th Fl
                        New York, NY 10017
                        <7100-00 General Unsecured § 726(a)(2)>
  84       10/08/13 610 Berg Grain & Produce                      40,156.28       40,156.28        0.00   40,156.28         0.00
                        Brad A. Sinclair, Attorney at Law
                        3429 Interstate Boulevard,PO Box 9231
                        Fargo, ND 58106
                        <7100-00 General Unsecured § 726(a)(2)>




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  85      10/15/13 610 Northern Electric Cooperative, Inc.          11,227.15        11,227.15        0.00      11,227.15          0.00
                       Harvey A. Oliver
                       P.O. Box 1456
                       Aberdeen, SD 57402-1456
                       <7100-00 General Unsecured § 726(a)(2)>
  87 -2   10/17/13 610 SDIF LP 9                                 25,605,613.23    25,605,613.23       0.00   25,605,613.23         0.00
                       415 Production Street North
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
  88 -2   10/17/13 610 SDIF LP 6                                 34,837,890.41    34,837,890.41       0.00   34,837,890.41         0.00
                       415 Production Street North
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
  89      10/18/13 610 JCW Investments, L.L.C.                        3,401.33         3,401.33       0.00        3,401.33         0.00
                       dba Super 8 Motel
                       2405 6th Avenue SE
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
  90      10/18/13 610 Praxair Inc.                                143,417.32       143,417.32        0.00     143,417.32          0.00
                       39 Old Ridgebury Rd.
                       Danbury, CT 06813
                       <7100-00 General Unsecured § 726(a)(2)>
  91      10/18/13 610 Gas-N-Goodies                                   745.32           745.32        0.00         745.32          0.00
                       1106 S 5th Street
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
  95      10/21/13 610 Hase Plumbing, Heating & Air                 11,175.50        11,175.50        0.00      11,175.50          0.00
                       Jim Hase
                       1111 S 2nd St
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
  96      10/22/13 610 Norse Electric                               19,190.64        19,190.64        0.00      19,190.64          0.00
                       104 S. Washington St.
                       Scott City, KS 67871
                       <7100-00 General Unsecured § 726(a)(2)>
  97      10/22/13 610 Werner Auction Group                           4,813.67         4,813.67       0.00        4,813.67         0.00
                       Black Moore Magnussen
                       812 Main Street, Suite 102
                       Elk River, MN 55330
                       <7100-00 General Unsecured § 726(a)(2)>
  98      10/22/13 610 US BANK N.A.                                 20,243.92        20,243.92        0.00      20,243.92          0.00
                       BANKRUPTCY DEPARTMENT
                       P.O. BOX 5229
                       CINCINNATI, OH 45201-5229
                       <7100-00 General Unsecured § 726(a)(2)>
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 103      10/25/13 610 Zhou, Yan                                  500,000.00      500,000.00        0.00   500,000.00         0.00
                       Koley Jessen P.C., L.L.O.,Attn: Donald
                       L. Swanson,1125 S. 103rd Street, Suite 8
                       Omaha, NE 68124
                       <7100-00 General Unsecured § 726(a)(2)>
 104      10/25/13 610 Zhang, Xuening                             500,000.00      500,000.00        0.00   500,000.00         0.00
                       Koley Jessen P.C., L.L.O.,Attn: Donald
                       L. Swanson,1125 S. 103rd Street, Suite 8
                       Omaha, NE 68124
                       <7100-00 General Unsecured § 726(a)(2)>
 105      10/28/13 610 Employment USA, LLC                          3,020.75        3,020.75        0.00     3,020.75         0.00
                       415 N. 4th Street
                       Suite C
                       Aberdeen, SD 57401-2771
                       <7100-00 General Unsecured § 726(a)(2)>
 107      10/28/13 610 Magid Glove & Safety Manufacturing          92,691.82       92,691.82        0.00    92,691.82         0.00
                       Company, LLC
                       2060 N. Kolmar Avenue
                       Chicago, IL 60639
                       <7100-00 General Unsecured § 726(a)(2)>
 109U-3   10/28/13 610 South Dakota Department of Revenue           7,532.04        7,532.04        0.00     7,532.04         0.00
                       Anderson Building
                       445 East Capitol Avenue
                       Pierre, SD 57501-3185
                       <7100-00 General Unsecured § 726(a)(2)>
 110      10/29/13 610 C.H. Robinson Worldwide, Inc.              187,823.25      187,823.25        0.00   187,823.25         0.00
                       14701 Charlson Road
                       Eden Prairie, MN 55347
                       <7100-00 General Unsecured § 726(a)(2)>
 111      10/29/13 610 Quality Value Excellent Sanitation         455,568.79      455,568.79        0.00   455,568.79         0.00
                       Team, LLC
                       c/o Maralyn Stallbaumer
                       PO Box 1147,1101 8th Street
                       Greeley, CO 80632
                       <7100-00 General Unsecured § 726(a)(2)>
 114      10/30/13 610 Daewoo International (America) Corp.       474,851.89      474,851.89        0.00   474,851.89         0.00
                       300 Frank W. Burr Boulevard, #23
                       Attn: Susan Rogers, Credit Manager
                       Teaneck, NJ 07666
                       <7100-00 General Unsecured § 726(a)(2)>
 115      10/30/13 610 Lift Solutions, Inc.                        90,226.97       90,226.97        0.00    90,226.97         0.00
                       14616 Shepard St
                       Omaha, NE 68138
                       <7100-00 General Unsecured § 726(a)(2)>
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 116       11/01/13 610 Fink Plumbing                                 9,580.00         9,580.00        0.00       9,580.00         0.00
                        PO Box 109
                        Redfield, SD 57469
                        <7100-00 General Unsecured § 726(a)(2)>
 117       11/01/13 610 USDA/ Food Safety and Inspection             25,167.02        25,167.02        0.00     25,167.02          0.00
                        Service
                        Attn: Debt Management Unit
                        5601 Sunnyside Avenue, Mail Drop 5265
                        Beltsville, MD 20705
                        <7100-00 General Unsecured § 726(a)(2)>
 120       11/04/13 610 RMS Research Management Systems              88,258.00        88,258.00        0.00     88,258.00          0.00
                        USA, Inc.
                        Attn: RJ Richmond
                        1520 E. Mulberry, Suite 150
                        Fort Collins, CO 80524
                        <7100-00 General Unsecured § 726(a)(2)>
 121U      11/04/13 610 Farnam Street Financial, Inc.              1,070,499.63     1,070,499.63       0.00   1,070,499.63         0.00
                        Attn: Steven C. Morgan                                             *
                        5850 Opus Parkway, Suite 240
                        Minnetonka, MN 55343
                        <7100-00 General Unsecured § 726(a)(2)>
 122       11/04/13 610 RockTenn CP, LLC                             23,023.76        23,023.76        0.00     23,023.76          0.00
                        Chris Berg, Esq.
                        504 Thrasher Street
                        Norcross, GA 30071
                        <7100-00 General Unsecured § 726(a)(2)>
 123U      11/04/13 610 RockTenn CP, LLC                             11,686.00        11,686.00        0.00     11,686.00          0.00
                        Chris Berg, Esq.
                        504 Thrasher Street
                        Norcross, GA 30071
                        <7100-00 General Unsecured § 726(a)(2)>
 124       11/04/13 610 Members of the Ad Hoc Committee of         8,175,000.00     8,175,000.00       0.00   8,175,000.00         0.00
                        EB-5 Investors
                        c/oDonald L. Swanson, Koley Jessen PC,LL
                        1125 South 103rd Street, Suite 800
                        Omaha, NE 68124
                        <7100-00 General Unsecured § 726(a)(2)>
 125U-2    11/05/13 610 NorthWestern Energy                         447,288.82       447,288.82        0.00    447,288.82          0.00
                        40 East Broadway St.
                        Butte, MT 59701
                        <7100-00 General Unsecured § 726(a)(2)>
 126       11/07/13 610 Marco Inc                                     2,754.57         2,754.57        0.00       2,754.57         0.00
                        4510 Heatherwood Road
                        St. Cloud, MN 56301
                        <7100-00 General Unsecured § 726(a)(2)>




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                         Claimant /                               Amount          Amount          Paid      Claim        Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                 Filed          Allowed        to Date   Balance       Payment

 127      11/12/13 610 Birko Corporation                           36,299.68       36,299.68        0.00    36,299.68         0.00
                       9152 Yosemite Street
                       Henderson, CO 80640
                       <7100-00 General Unsecured § 726(a)(2)>
 131 -2   11/22/13 610 Riverport Insurance Company                 76,788.00       76,788.00        0.00    76,788.00         0.00
                       NCCI Carrier Code 27995,Berkley
                       Assigned Risk Services,2510 E. Irwin Str
                       Pierre, SD 57501
                       <7100-00 General Unsecured § 726(a)(2)>
 132      12/03/13 610 United States Dept. of Agriculture          51,159.93       51,159.93        0.00    51,159.93         0.00
                       Agricultural Marketing Services,Animal
                       and Plant Health Inspection Servi,Financ
                       Minneapolis, MN 55403
                       <7100-00 General Unsecured § 726(a)(2)>
 133      12/06/13 610 Avera St. Lukes Hospital                    79,954.05       79,954.05        0.00    79,954.05         0.00
                       c/o Robert R. Nelson,Attorney at
                       Law,212 11th Street, Suite 200
                       Sioux Falls, SD 57104
                       <7100-00 General Unsecured § 726(a)(2)>
 135      01/17/14 610 Dallas National Insurance Company           10,522.16       10,522.16        0.00    10,522.16         0.00
                       c/o CRFSolutions
                       PO Box 1389
                       Simi Valley, CA 93062
                       <7100-00 General Unsecured § 726(a)(2)>
 136      01/17/14 610 Dallas National Insurance Company             382.33          382.33         0.00      382.33          0.00
                       c/o CRFSolutions
                       PO Box 1389
                       Simi Valley, CA 93062
                       <7100-00 General Unsecured § 726(a)(2)>
 137      02/17/14 610 IPFS Corporation (Bankruptcy)                1,957.71        1,957.71        0.00     1,957.71         0.00
                       30 Montgomery Street, Suite 1000
                       Jersey City, NJ 07302
                       <7100-00 General Unsecured § 726(a)(2)>
 138      02/18/14 610 Daesung Maref Co, LTD                      301,645.26      301,645.26        0.00   301,645.26         0.00
                       <7100-00 General Unsecured § 726(a)(2)>
 143      10/14/14 610 Jomg Min Kim                               500,000.00      500,000.00        0.00   500,000.00         0.00
                       Barron & Associates
                       3478 Buskirk Avenue, Suite 150
                       Pleasant Hill, CA 94523
                       <7100-00 General Unsecured § 726(a)(2)>
 147      06/15/16 610 A-1 Sanitation & Recycling, LLC              8,502.09        8,502.09        0.00     8,502.09         0.00
                       38435 133rd Street
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
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                         Claimant /                              Amount          Amount          Paid      Claim        Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                Filed          Allowed        to Date   Balance       Payment

 148      06/15/16 610 Northwest Pallet Supply Co.                22,286.50       22,286.50        0.00    22,286.50         0.00
                       3648 Morreim
                       Belvidere, IL 61008
                       <7100-00 General Unsecured § 726(a)(2)>
 149      06/15/16 610 Tanya Lynette Glodrey                       2,646.20        2,646.20        0.00     2,646.20         0.00
                       1417 S 6th Street
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
                       disallowed (doc. 1839)
 151      06/17/16 610 Moss & Barnett, P.A.                      203,239.81      203,239.81        0.00   203,239.81         0.00
                       150 South Fifth Street
                       Suite 1200
                       Minneapolis, MN 55402
                       <7100-00 General Unsecured § 726(a)(2)>
 152      06/20/16 610 Where Food Comes From, Inc.                 1,800.00        1,800.00        0.00     1,800.00         0.00
                       221 Wilcox St., Suite A
                       Castle Rock, CO 80104
                       <7100-00 General Unsecured § 726(a)(2)>
 153      06/23/16 610 Pomp's Tire Service, Inc.                   1,606.22        1,606.22        0.00     1,606.22         0.00
                       PO Box 1630
                       Green Bay, WI 54313
                       <7100-00 General Unsecured § 726(a)(2)>
 154      06/24/16 610 Northwestern Power Equipment                8,713.12        8,713.12        0.00     8,713.12         0.00
                       2740 Patton Road
                       PO Box 131180
                       Roseville, MN 55113
                       <7100-00 General Unsecured § 726(a)(2)>
 155      06/28/16 610 Uline Shipping Supplies                     1,882.05        1,882.05        0.00     1,882.05         0.00
                       12575 Uline Drive
                       Pleasant Prairie, WI 53158
                       <7100-00 General Unsecured § 726(a)(2)>
 156      06/30/16 610 South Dakota Department of Labor &         31,292.36       31,292.36        0.00    31,292.36         0.00
                       Regulation
                       UI Tax Division
                       PO Box 4730
                       Aberdeen, SD 57402-4730
                       <7100-00 General Unsecured § 726(a)(2)>
 157      07/01/16 610 North Star Energy                            230.12          230.12         0.00      230.12          0.00
                       721 S. State St.
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
 158      07/01/16 610 Lift Solutions, Inc.                        2,385.00        2,385.00        0.00     2,385.00         0.00
                       14616 Shepard St
                       Omaha, NE 68138
                       <7100-00 General Unsecured § 726(a)(2)>
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                               Case: 13-10118 NORTHERN BEEF PACKERS LIMITED
                         Claimant /                              Amount          Amount          Paid      Claim        Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                Filed          Allowed        to Date   Balance       Payment

 161      07/12/16 610 IEH Laboratories & Consulting Group       145,092.30      145,092.30        0.00   145,092.30         0.00
                       Warren Analytical Laboratory
                       650 O St
                       Greeley, CO 80631
                       <7100-00 General Unsecured § 726(a)(2)>
 162      07/12/16 610 IEH Laboratories & Consulting Group         2,130.00        2,130.00        0.00     2,130.00         0.00
                       15300 Bothell Way NE
                       Seattle, WA 98155
                       <7100-00 General Unsecured § 726(a)(2)>
 163      07/13/16 610 Kirkvold Associates, Inc.                   7,645.36        7,645.36        0.00     7,645.36         0.00
                       5435 S 74th St
                       Lincoln, NE 68516
                       <7100-00 General Unsecured § 726(a)(2)>
 164      07/13/16 610 Eaton Electric                              4,591.84        4,591.84        0.00     4,591.84         0.00
                       109 7th Ave SE
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>
 165      07/14/16 610 Crawford Trucks & Equipment Inc.             205.05          205.05         0.00      205.05          0.00
                       3601 6th Avenue SE
                       Aberdeen, SD 57401-5510
                       <7100-00 General Unsecured § 726(a)(2)>
 167      07/18/16 610 Packaging Corporation of America           42,973.66       42,973.66        0.00    42,973.66         0.00
                       Attn: Karen McGill-Konezney
                       800 East Diehl Road, Suite 160
                       Naperville, IL 60563
                       <7100-00 General Unsecured § 726(a)(2)>
 168      07/19/16 610 Grote Roofing, Inc.                        22,144.06       22,144.06        0.00    22,144.06         0.00
                       Kimberly A. Dorsett
                       One Court Street, P.O. Box 1030
                       Aberdeen, SD 57402
                       <7100-00 General Unsecured § 726(a)(2)>
 170      08/01/16 610 Northwest Pipe Fittings Inc of Huron        6,609.84        6,609.84        0.00     6,609.84         0.00
                       441 Arizona Ave NW
                       Huron, SD 57350-4501
                       <7100-00 General Unsecured § 726(a)(2)>
 171      08/01/16 610 White Rock Hutterian Brethren, Inc.        38,046.00       38,046.00        0.00    38,046.00         0.00
                       d/b/a White Rock Pallets & Custom Skids
                       47788 102nd St
                       Rosholt, SD 57260
                       <7100-00 General Unsecured § 726(a)(2)>
 172      08/01/16 610 SCR, Inc. - St. Cloud                        573.62          573.62         0.00      573.62          0.00
                       604 Lincoln Ave NE
                       Saint Cloud, MN 56304
                       <7100-00 General Unsecured § 726(a)(2)>
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                         Claimant /                                   Amount            Amount          Paid             Claim        Proposed
Claim #     Date   Pri   Proof / <Category> / Memo                     Filed            Allowed        to Date          Balance       Payment

 173      08/02/16 610 House of Glass                                   3,862.89          3,862.89          0.00          3,862.89           0.00
                       2 N. State St
                       Aberdeen, SD 57402-0228
                       <7100-00 General Unsecured § 726(a)(2)>
 176U     08/08/16 610 Jerry Wemhoff                                   10,618.45         10,618.45          0.00         10,618.45           0.00
                       2121 N Engleman Rd
                       Grand Island, NE 68803-2242
                       <7100-00 General Unsecured § 726(a)(2)>
 177      04/27/15 610 Woo Song International                       1,200,000.00      1,200,000.00          0.00      1,200,000.00           0.00
                       962-1 Shinjung-4 dong, yangcheon-gu
                       Seoul, South Korea,
                       <7100-00 General Unsecured § 726(a)(2)>
 179      08/22/16 610 Oshik Song                                   1,040,000.00      1,040,000.00          0.00      1,040,000.00           0.00
                       15625 Prospect Rd.
                       Eden Prairie, MN 55347
                       <7100-00 General Unsecured § 726(a)(2)>
 180      08/29/16 610 King Midas, Inc DBA Production                  15,568.85         15,568.85          0.00         15,568.85           0.00
                       Monkeys
                       20 2nd Ave SE
                       Aberdeen, SD 57401
                       <7100-00 General Unsecured § 726(a)(2)>

                Total for Priority 610:   0% Paid                 $83,872,998.93    $82,142,998.93         $0.00    $82,142,998.93          $0.00

 189U     09/19/16 620 Ernesto Antonio Fuentes Lemus                 76,840.75           76,840.75          0.00         76,840.75           0.00
                       6736 County Rd 2004 #147
                       Portland, TX 78374
                       <7200-00 Tardy General Unsecured § 726(a)(3)>
 191U     03/11/19 620 Karl J. Wagner                                3,271.29             3,271.29          0.00          3,271.29           0.00
                       1150 53rd Ave.
                       Greeley, CO 80634
                       <7200-00 Tardy General Unsecured § 726(a)(3)>
 194U     03/29/19 620 Richard D. Jensen                                 668.23            668.23           0.00           668.23            0.00
                       2014 S. Merton Street
                       Aberdeen, SD 57401
                       <7200-00 Tardy General Unsecured § 726(a)(3)>

                Total for Priority 620:   0% Paid                    $80,780.27        $80,780.27          $0.00       $80,780.27           $0.00

                                Total for Unsecured Claims:       $83,953,779.20    $82,223,779.20         $0.00    $82,223,779.20          $0.00


                                             Total for Case :    $158,448,781.13   $156,546,133.00   $775,653.82   $155,770,479.18     $60,334.08
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                              TRUSTEE'S PROPOSED INTERIM DISTRIBUTION
                                                                                                          Exhibit D

            Case No.: 13-10118
            Case Name: NORTHERN BEEF PACKERS LIMITED
            Trustee Name: Forrest Allred
                                                Balance on hand:                            $          102,939.91
              Claims of secured creditors will be paid as follows:

 Claim        Claimant                                Claim Allowed Amount Interim Payments               Proposed
 No.                                                Asserted       of Claim          to Date              Payment
   7          Diamond Vogel Paints                   2,819.00          2,819.00                 0.00           0.00
   19         Western Equipment                     19,678.25         19,678.25                 0.00           0.00
              Finance, Inc.
   22         Brown County, SD                1,035,743.27         1,035,743.27                 0.00           0.00
   28         Axis Capital, Inc                     36,675.15         36,675.15                 0.00           0.00
   29         Axis Capital, Inc                   168,341.77         168,341.77                 0.00           0.00
   65 -2      Official Committee of          64,450,638.20        64,450,638.20                 0.00           0.00
              Unsecured Creditors
   69         Scott Olson Digging, Inc.       3,311,417.00         3,311,417.00                 0.00           0.00
  118         Sealed Air Corporation          1,961,226.19         1,961,226.19                 0.00           0.00
  123S        RockTenn CP, LLC                    543,489.00         543,489.00                 0.00           0.00
  125S-2      NorthWestern Energy                 272,000.00         272,000.00                 0.00           0.00
  146         Diamond Vogel Paints                   2,819.00          2,819.00                 0.00           0.00
                                                Total to be paid to secured creditors:      $                0.00
                                                Remaining balance:                          $          102,939.91

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                               Total Requested Interim Payments        Proposed
                                                                                          to Date       Payment
Trustee, Fees - Forrest Allred, Chapter 7 Trustee                     55,036.52          53,218.84         1,817.68
Trustee, Expenses - Forrest Allred, Chapter 7 Trustee                  1,550.51           1,242.41           308.10
Attorney for Trustee, Fees - Patrick T. Dougherty                     30,448.50          30,448.50             0.00
Attorney for Trustee, Expenses - Patrick T. Dougherty                    624.64            624.64              0.00
Accountant for Trustee, Fees - Eide Bailly, LLP                        5,363.34           5,363.34             0.00
Charges, U.S. Bankruptcy Court                                         2,800.00           2,800.00             0.00
Fees, United States Trustee                                              325.00            325.00              0.00
Attorney for Trustee Fees - Robbins, Salomon & Patt, Ltd.             42,933.19          42,933.19             0.00



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                            Total to be paid for chapter 7 administration expenses:         $            2,125.78
                            Remaining balance:                                              $          100,814.13

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
Attorney for Trustee/D-I-P Fees - Bantz, Gosch & Cremer,             6,284.48             6,284.48             0.00
L.L.C.
Attorney for Trustee/D-I-P Expenses - Bantz, Gosch &                   850.27              850.27              0.00
Cremer, L.L.C.
Other Fees: Karl Wagner                                              3,438.75             3,438.75             0.00
Other Expenses: Hilda Chairez                                        2,240.00             2,240.00             0.00
Attorney for Trustee/D-I-P Fees - Cozen O'Connor                  149,139.36          149,139.36               0.00
Attorney for Trustee/D-I-P Expenses - Cozen O'Connor                 7,077.72             7,077.72             0.00
Other Fees: Patrick T. Dougherty                                    11,768.40          11,768.40               0.00
Other Fees: Robbins, Salomon & Patt, Ltd.                           42,422.67          42,422.67               0.00
Other Expenses: Karl Wagner                                            299.73              299.73              0.00
Other Expenses: United States Treasury                                 305.76              305.76              0.00
                            Total to be paid for prior chapter administrative expenses:     $                0.00
                            Remaining balance:                                              $          100,814.13

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $2,154,598.13 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                      Allowed Amount Interim Payments              Proposed
No                                                                 of Claim          to Date             Payment
              United States Treasury                                12,587.59             1,264.55             0.01
              United States Treasury                                 3,303.85              331.90              0.00
              United States Treasury                                14,126.67             1,419.17             0.00
              United States Treasury                                 3,561.21                   0.00         357.76
              United States Treasury                                   832.86                   0.00          83.67
              United States Treasury                                 3,266.39                   0.00         328.14
   6P-5       Internal Revenue Service                            929,708.81           93,398.58               0.00
  24          Amy Moore Rissmann                                     3,115.38             3,115.38             0.00
  31          Chelsie Anderson                                       3,269.23             3,269.23             0.00

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33      South Dakota Department of Labor &           30,635.86        3,077.68       0.00
        Regulation
34P-2   Gary Lorensen                                11,750.00       11,750.00       0.00
36      Maite Vila                                    1,250.40        1,250.40       0.00
37      Sancti Reyes                                  2,030.08        2,030.08       0.00
38      Jeremy E. Randolph                            6,636.25        6,636.25       0.00
39      Maria D. Carrera                              1,833.34        1,833.34       0.00
40      Soila Martinez                                3,777.69        3,777.69       0.00
41      Ramiro Martinez-Hernandez                     1,851.84        1,851.84       0.00
44      Robb Krokel                                   3,322.00        3,322.00       0.00
47      Rene Ferrer Almarez                           6,093.50        6,093.50       0.00
48      Wishlee Ringang                               1,716.00        1,716.00       0.00
50      Rayanda Miyuki                                1,456.00        1,456.00       0.00
51      Gary Renguul                                  1,612.00        1,612.00       0.00
52      Billy Ngirchoit                               1,716.00        1,716.00       0.00
53      Free Ngirchomlei                              1,508.00        1,508.00       0.00
54      Teddy Nobuo                                   1,444.50        1,444.50       0.00
55      Robert Geist                                  1,085.50        1,085.50       0.00
57      Adolfo Garcia                                 2,388.67        2,388.67       0.00
58      Steven R. Ballinger                           8,916.15        8,916.15       0.00
61      Kevin Herren                                  2,160.00        2,160.00       0.00
62P     Richard D. Jensen                             1,348.10        1,348.10       0.00
66      Jay Thomas Rossman                            3,796.56        3,796.56       0.00
68      Corey Schuh                                   3,884.00        3,884.00       0.00
70      Clyde Eisenbeisz                              5,900.00        5,900.00       0.00
73      Dayma Martin Sobera                           1,612.00        1,612.00       0.00
74      Michel Perdomo Carballo                       1,508.00        1,508.00       0.00
75 -2   South Dakota Department of Revenue           22,395.73        2,249.88       0.00
76      Amandon Wilhelm                              10,300.00       10,300.00       0.00
77      Christian Arnao                               1,452.50        1,452.50       0.00
80      Matthew Nygaard                                983.16          983.16        0.00
81      Allan M. Brandner                             4,718.44        4,718.44       0.00
83      Clark White                                   4,311.00        4,311.00       0.00

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86       Alan D. Bell                                    4,600.00        4,600.00          0.00
92       Hieu Pham                                       3,701.91        3,701.91          0.00
93       Allen Kolb                                      5,123.85        5,123.85          0.00
94       Chad M. Wagenaar                                2,242.56        2,242.56          0.00
99       Suzanne Morrow                                  5,000.00        5,000.00          0.00
100      Tanya Lynette Glodrey                               0.00            0.00          0.00
101      Alberto Figueras Cabrisas                       1,404.00        1,404.00          0.00
102      Yamile Chavez Garcia                            1,300.00        1,300.00          0.00
106      Richard Garrett Hulshof                         2,752.00        2,752.00          0.00
108      Suzette Wirth                                   1,500.00        1,500.00          0.00
109P-3   South Dakota Department of Revenue            848,891.07       85,279.63          0.00
112      Shannon Anderson                                1,561.75        1,561.75          0.00
113      Malinda Johnson                                 1,687.14        1,687.14          0.00
119      Shaine C. Anderson                              3,721.76        3,721.76          0.00
121P     Farnam Street Financial, Inc.                       0.00            0.00          0.00
128      William Moon                                    6,161.39        6,161.39          0.00
129      Brian Hoff                                      3,808.47        3,808.47          0.00
130      Joe Moslander                                   5,480.12        5,480.12          0.00
134      Fabian Angeles                                  4,804.61        4,804.61          0.00
139      Guadalupe Ibarra                                2,800.00        2,800.00          0.00
140      Obono Alual                                     1,744.73        1,744.73          0.00
141      Lisa Dauwen                                     2,496.00        2,496.00          0.00
145      Kerry Christman                                 1,781.47            0.00       1,781.47
150      Tanya Lynette Glodrey                           4,154.40        4,154.40          0.00
159      Anthony C. Frenier Sr.                          1,800.00        1,800.00          0.00
160      Darrell Berreth                                 4,075.12        4,075.12          0.00
166      Kerry Christman                                     0.00            0.00          0.00
169      Jonghwan Kim                                    6,115.38        6,115.38          0.00
174      Rodolfo Almaguer                                1,700.00        1,700.00          0.00
175      David A. Palmer                                 9,614.92        9,614.92          0.00
176P     Jerry Wemhoff                                  12,475.00       12,475.00          0.00
178      Oshik Song                                      6,613.97        6,613.97          0.00
181      Jose Thomas Guevara                             1,600.00        1,600.00          0.00

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 182           Mark Alan Wojtaszek                                     1,250.00          1,250.00                 0.00
 184           Maria Angelica Perez Hernandez                          1,860.00          1,860.00                 0.00
 185           Duniesqui Torres Ramirez                                2,100.00          2,100.00                 0.00
 186           Michel Hernandez Sanchez                                1,860.00          1,860.00                 0.00
 187           Efren Gonzalez                                          1,980.00          1,980.00                 0.00
 188           Jerry Bennett                                           9,660.81                 0.00       9,660.81
 189P          Ernesto Antonio Fuentes Lemus                              14.00             14.00                 0.00
 191P          Karl J. Wagner                                         12,475.00                 0.00      12,475.00
 192           Blair Younker                                           8,717.95                 0.00       8,717.95
 193           George Alvarado                                         3,403.54                 0.00       3,403.54
 194P          Richard D. Jensen                                       3,745.44                 0.00       3,745.44
 195           Mabel L. Muniz Garcia                                   1,770.00                 0.00       1,770.00
 196           Armeris Rafael Tamayo Pavon                             2,400.00                 0.00       2,400.00
 197           Rafaela Estrada                                         3,203.08                 0.00       3,203.08
 198           Leydis Estrada                                          3,095.25                 0.00       3,095.25
 199           Jesus Meirama Gonzalez                                  2,556.26                 0.00       2,556.26
 201           Donald Wagner                                           4,629.92                 0.00       4,629.92
                                                 Total to be paid for priority claims:      $          58,208.30
                                                 Remaining balance:                         $          42,605.83
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 82,142,998.93 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            Office Depot                                           19,152.62                 0.00              0.00
  2            Toyota Motor Credit Corporation                         3,520.63                 0.00              0.00
  3            Unisource Worldwide                                    20,155.28                 0.00              0.00
  4            Summit Group Software, Inc.                             8,478.86                 0.00              0.00
  5            South Dakota Development Corporation               1,200,000.00                  0.00              0.00


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6U-5    Internal Revenue Service                        19,872.80          0.00         0.00
8       CIT Finance, LLC                               121,597.39          0.00         0.00
9       CIT Finance, LLC                                32,049.59          0.00         0.00
10      CIT Finance, LLC                                27,861.65          0.00         0.00
11      DXP Enterprise                                 528,346.11          0.00         0.00
12      Blesi-Evans Company                               1,077.66         0.00         0.00
13      James Skrydlak                                    1,230.00         0.00         0.00
14      Midlands Newspapers, Inc                          6,280.05         0.00         0.00
15      W W Grainger Inc                                  5,786.54         0.00         0.00
16 -3   PB Metal Fab LLC                                22,855.30          0.00         0.00
17      Jorge Alvarado                                1,000,000.00         0.00         0.00
18      Diesel Machinery, Inc.                            1,153.03         0.00         0.00
20      Packaging Corporation of America                42,973.66          0.00         0.00
21      Economical Design Solutions                     11,365.46          0.00         0.00
23      McMaster-Carr Supply Company                      1,869.55         0.00         0.00
25      Tri State Water                                   3,044.88         0.00         0.00
26      Continental Carbonic Products, Inc.               6,081.80         0.00         0.00
27      United Rentals (North America), Inc.            49,365.47          0.00         0.00
30      Gary Lorensen                                  111,538.35          0.00         0.00
32      Minnesota Valley Testing Laboratories, Inc.       9,691.00         0.00         0.00
34U-2   Gary Lorensen                                    9,341.61          0.00         0.00
35      OfficeMax North America                         43,845.05          0.00         0.00
42 -2   City of Aberdeen, South Dakota                 250,269.07          0.00         0.00
43      Grote Roofing, Inc.                             16,685.38          0.00         0.00
45      Dakota Dust-Tex, Inc.                             4,189.80         0.00         0.00
46      Prime Natural Resources, Inc.                   16,550.86          0.00         0.00
49      Diken International                             27,330.74          0.00         0.00
56      Motion Industries                                 3,926.62         0.00         0.00
59      Polarway Investment Limited                    500,000.00          0.00         0.00
60      Hanul Law Firm                                1,170,025.00         0.00         0.00
62U     Richard D. Jensen                                3,065.57          0.00         0.00
63      Firestop Solutions, LLC                         10,619.07          0.00         0.00
64      Siemens Industry, Inc.                          13,135.52          0.00         0.00

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67       Jackson Lewis, LLP                                5,216.74         0.00         0.00
71       Hartfiel Automation Inc.                           256.34          0.00         0.00
72       Cyber Metrics Corporation                         4,995.00         0.00         0.00
78       RB Consulting Inc.                              55,250.00          0.00         0.00
79 -2    Cattlemen's Beef Promotion and Research           3,002.29         0.00         0.00
         Board
82       Intralinks, Inc.                                  3,744.00         0.00         0.00
84       Berg Grain & Produce                            40,156.28          0.00         0.00
85       Northern Electric Cooperative, Inc.             11,227.15          0.00         0.00
87 -2    SDIF LP 9                                    25,605,613.23         0.00         0.00
88 -2    SDIF LP 6                                    34,837,890.41         0.00         0.00
89       JCW Investments, L.L.C.                           3,401.33         0.00         0.00
90       Praxair Inc.                                   143,417.32          0.00         0.00
91       Gas-N-Goodies                                      745.32          0.00         0.00
95       Hase Plumbing, Heating & Air                    11,175.50          0.00         0.00
96       Norse Electric                                  19,190.64          0.00         0.00
97       Werner Auction Group                              4,813.67         0.00         0.00
98       US BANK N.A.                                    20,243.92          0.00         0.00
103      Zhou, Yan                                      500,000.00          0.00         0.00
104      Zhang, Xuening                                 500,000.00          0.00         0.00
105      Employment USA, LLC                               3,020.75         0.00         0.00
107      Magid Glove & Safety Manufacturing              92,691.82          0.00         0.00
         Company, LLC
109U-3   South Dakota Department of Revenue                7,532.04         0.00         0.00
110      C.H. Robinson Worldwide, Inc.                  187,823.25          0.00         0.00
111      Quality Value Excellent Sanitation Team,       455,568.79          0.00         0.00
         LLC
114      Daewoo International (America) Corp.           474,851.89          0.00         0.00
115      Lift Solutions, Inc.                            90,226.97          0.00         0.00
116      Fink Plumbing                                     9,580.00         0.00         0.00
117      USDA/ Food Safety and Inspection Service        25,167.02          0.00         0.00
120      RMS Research Management Systems USA,            88,258.00          0.00         0.00
         Inc.
121U     Farnam Street Financial, Inc.                 1,070,499.63         0.00         0.00

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122      RockTenn CP, LLC                               23,023.76          0.00         0.00
123U     RockTenn CP, LLC                               11,686.00          0.00         0.00
124      Members of the Ad Hoc Committee of EB-5      8,175,000.00         0.00         0.00
         Investors
125U-2   NorthWestern Energy                           447,288.82          0.00         0.00
126      Marco Inc                                        2,754.57         0.00         0.00
127      Birko Corporation                              36,299.68          0.00         0.00
131 -2   Riverport Insurance Company                    76,788.00          0.00         0.00
132      United States Dept. of Agriculture             51,159.93          0.00         0.00
133      Avera St. Lukes Hospital                       79,954.05          0.00         0.00
135      Dallas National Insurance Company              10,522.16          0.00         0.00
136      Dallas National Insurance Company                 382.33          0.00         0.00
137      IPFS Corporation (Bankruptcy)                    1,957.71         0.00         0.00
138      Daesung Maref Co, LTD                         301,645.26          0.00         0.00
143      Jomg Min Kim                                  500,000.00          0.00         0.00
147      A-1 Sanitation & Recycling, LLC                  8,502.09         0.00         0.00
148      Northwest Pallet Supply Co.                    22,286.50          0.00         0.00
149      Tanya Lynette Glodrey                            2,646.20         0.00         0.00
151      Moss & Barnett, P.A.                          203,239.81          0.00         0.00
152      Where Food Comes From, Inc.                      1,800.00         0.00         0.00
153      Pomp's Tire Service, Inc.                        1,606.22         0.00         0.00
154      Northwestern Power Equipment                     8,713.12         0.00         0.00
155      Uline Shipping Supplies                          1,882.05         0.00         0.00
156      South Dakota Department of Labor &             31,292.36          0.00         0.00
         Regulation
157      North Star Energy                                 230.12          0.00         0.00
158      Lift Solutions, Inc.                             2,385.00         0.00         0.00
161      IEH Laboratories & Consulting Group           145,092.30          0.00         0.00
162      IEH Laboratories & Consulting Group              2,130.00         0.00         0.00
163      Kirkvold Associates, Inc.                        7,645.36         0.00         0.00
164      Eaton Electric                                   4,591.84         0.00         0.00
165      Crawford Trucks & Equipment Inc.                  205.05          0.00         0.00
167      Packaging Corporation of America               42,973.66          0.00         0.00


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 168           Grote Roofing, Inc.                                  22,144.06                 0.00           0.00
 170           Northwest Pipe Fittings Inc of Huron                   6,609.84                0.00           0.00
 171           White Rock Hutterian Brethren, Inc.                  38,046.00                 0.00           0.00
 172           SCR, Inc. - St. Cloud                                     573.62               0.00           0.00
 173           House of Glass                                         3,862.89                0.00           0.00
 176U          Jerry Wemhoff                                        10,618.45                 0.00           0.00
 177           Woo Song International                            1,200,000.00                 0.00           0.00
 179           Oshik Song                                        1,040,000.00                 0.00           0.00
 180           King Midas, Inc DBA Production Monkeys               15,568.85                 0.00           0.00
                            Total to be paid for timely general unsecured claims:         $               0.00
                            Remaining balance:                                            $          42,605.83


            Tardily filed claims of general (unsecured) creditors totaling $ 80,780.27 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 189U          Ernesto Antonio Fuentes Lemus                        76,840.75                 0.00           0.00
 191U          Karl J. Wagner                                         3,271.29                0.00           0.00
 194U          Richard D. Jensen                                         668.23               0.00           0.00
                            Total to be paid for tardy general unsecured claims:          $               0.00
                            Remaining balance:                                            $          42,605.83




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $           42,605.83




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